Case:25-01124-KHT Doc#:14 Filed:05/05/25                       Entered:05/05/25 16:25:29 Page1 of 64




                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

     In re:

     DNC and TCPA LIST SANITIZER, LLC,
                                                              Bankruptcy Case No. 24-12624 KHT
              Debtor.                                         Chapter 11


     DNC and TCPA LIST SANITIZER, LLC
     and MICHAEL O’HARE,
                                                              Adv. Proc. No. 25-1124 KHT
              Plaintiffs,

     v.

     ADAM YOUNG, an individual; and
     RINGBA, LLC,

              Defendants.


       OBJECTION TO MOTION OF DNC AND TCPA LIST SANITIZER, LLC AND
     MICHAEL O’HARE FOR DECLARATORY AND INJUNCTIVE RELIEF FILED BY
                              DEFENDANTS


              Defendants Adam Young and Ringba, LLC (together, “Ringba”), by and through their

 undersigned counsel, Womble Bond Dickinson (US) LLP, hereby object to the Motion of DNC

 and TCPA List Sanitizer, LLC and Michael O’Hare for a Temporary Restraining Order and for

 Declaratory and Injunctive Relief filed on April 11, 2025 at Docket No. 3 (the “Objection”).1 In

 support of its Objection, Ringba states as follows:




 1
  The portion of the Motion requesting a temporary restraining order was summarily denied by the Court. Docket No.
 8. Accordingly, the Objection responds to the portion of the Motion requesting a preliminary injunction only.


 124763022.1                                            1
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page2 of 64




                                          INTRODUCTION

          This is a case of a non-debtor individual attempting to use the automatic stay as a shield to

 protect himself individually from misconduct relating to his personal violation of a prior state court

 protective order. In May 2022, in litigation between Ringba and the Debtor, the District Court of

 El Paso County, Colorado, entered a Protective Order, preventing the disclosure of designated,

 confidential information. The Debtor’s principal, Mr. O’Hare, was also subject to the Protective

 Order. Despite this court-ordered obligation, Mr. O’Hare brazenly and publicly divulged Ringba’s

 information that had been designated with the highest possible confidentiality designation—

 “Highly Confidential – Attorneys’ Eyes Only.”

          To uphold the State Court’s Protective Order and prevent the further disclosure of the

 highly sensitive information, Ringba filed a “Motion and Affidavit for Citation for Contempt of

 Court” against Michael O’Hare, not the Debtor. Ultimately, the Debtor and Mr. O’Hare initiated

 the instant Adversary Proceeding, arguing that the automatic stay under 11 U.S.C. § 362(a) should

 extend to Michael O’Hare, because the Contempt Action could somehow impact the liability and

 estate of the Debtor. The Debtor and Mr. O’Hare also seek a preliminary injunction staying the

 Contempt Action, pending a determination in the Adversary Proceeding, which is the subject of

 this Objection.

          The Debtor’s and Mr. O’Hare’s motion for a preliminary injunction must be denied

 because they have not satisfied their high burden required for a preliminary injunction. First, the

 Debtor and Mr. O’Hare have absolutely no chance of success on their meritless request to extend

 the automatic stay to non-debtor third party, Mr. O’Hare. This is because: (i) the Contempt Action

 is a post-petition action based on Mr. O’Hare’s post-petition violation of the Protective Order; (ii)

 the automatic stay does not apply to the Contempt Action; (iii) no unusual circumstances apply



 124763022.1                                       2
Case:25-01124-KHT Doc#:14 Filed:05/05/25                       Entered:05/05/25 16:25:29 Page3 of 64




 here that would justify the “narrow exception” of extending the automatic stay to a non-debtor.

 Indeed, Ringba’s requested relief does not even mention the Debtor, and instead seeks such relief

 such as an affidavit from Mr. O’Hare regarding the scope of his violation, an order directing Mr.

 O’Hare to destroy existing documents he should not have, and an order enjoining him from further

 violating the Protective Order, to which he is already obligated to adhere. Moreover, the Debtor

 has failed to demonstrate any of the remaining preliminary injunction factors are satisfied. The

 Debtor (and Mr. O’Hare) will not suffer immediate, irreparable harm in the absence of a

 preliminary injunction; the balance of harms overwhelmingly favors Ringba; and upholding

 compliance with court orders in general is strongly in the public interest. Thus, the Debtor’s and

 Mr. O’Hare’s motion for a preliminary injunction in this Adversary Proceeding must be denied.

                                              BACKGROUND

 A.       The State Court Litigation

          1.      On October 31, 2021, DNC and TCPA List Sanitizer, LLC (the “Debtor”)2

 commenced litigation against Adam Young, Tubmanburg Limited and Ringba, LLC, in the District

 Court, El Paso County, Colorado (the “State Court”), in Case No. 2021CV31668 (the “State Court

 Litigation”). On May 18, 2022, the State Court entered a “Stipulated Protective Order for

 Litigation Involving Patents, Highly Sensitive Confidential Information and/or Trade Secrets” (the

 “Protective Order”) to allow the parties to exchange sensitive information in the case. Protective

 Order, Exhibit A. The Protective Order allowed the parties to designate documents and deposition

 testimony as “Highly Confidential – Attorneys’ Eyes Only.” Pursuant to the Protective Order, such




 2
   The Debtor is primarily owned by Cashyew Holdings, LLC, which holds a 99% equity interest in the Debtor. The
 remaining ownership interests in the Debtor are held by Michael O’Hare (.50%), the Debtor’s CEO, and Tanya O’Hare
 (.50%), the Debtor’s Secretary.



 124763022.1                                            3
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page4 of 64




 information could only be shared with specific parties (such as outside counsel and staff, the Court

 and its personnel), not the public and, and importantly, not the representatives of the parties.

          2.       During the COLO. R. OF CIV. P. 30(b)(6) deposition of Ringba, counsel for Ringba

 contemporaneously designated certain sections of the record as “Highly Confidential – Attorneys’

 Eyes Only.” Later, counsel for the Debtor requested that the entire transcript be designated as

 “Highly Confidential – Attorneys’ Eyes Only.” Thus, each and every page of the deposition

 transcript was watermarked with an “Attorneys’ Eyes Only” designation.

          3.       On May 25, 2023, the State Court issued an Order re Forthwith Request for

 Emergency Hearing and terminating sanctions against the Debtor (the “Judgment”). See Exhibit

 B. Specifically, the State Court entered terminating sanctions against the Debtor for its

 concealment of evidence and recordings that went to the heart of the State Court Litigation. Among

 other findings, the State Court concluded that “Mr. O’Hare … completely disregarded [his] legally

 required discovery obligations until just recently in an attempt to increase [his] chances of

 prevailing at trial.” Id. The State Court also found that Mr. O’Hare represented to the State Court

 and Ringba that he (and the Debtor) lacked access to certain discoverable information “when …

 Mr. O’Hare[] knew that that was not true.” Id. The State Court ultimately entered an award of

 attorneys’ fees and costs against the Debtor and in favor of Ringba. Ringba’s proof of claim filed

 in the Debtor’s Bankruptcy Case is based on this Judgment and the subsequent award of attorneys’

 fees and costs.

          4.       The Debtor appealed the Judgment terminating the State Court Litigation to the

 Colorado Court of Appeals in Case No. 2024CA265. The Debtor also appealed three other orders

 entered by the State Court, in Colorado Court of Appeals Case No. 2023CA891. On September

 19, 2024, the Colorado Court of Appeals affirmed the State Court’s Judgment against the Debtor,



 124763022.1                                       4
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page5 of 64




 denying the Debtor’s appeal at 2023CA891. The Colorado Court of Appeals has not yet ruled in

 Case No. 2024CA265. On March 12, 2025, the Debtor then filed a Petition for Writ of Certiorari

 with the Colorado Supreme Court in Case No. 2024SC724, as to the Colorado Court of Appeals’

 decision in 2023CA891. The Debtor did not obtain a supersedeas bond for any of its appeals.

 B.       The Debtor’s Bankruptcy Case

          5.    On May 16, 2024, after appealing the Judgment, the Debtor filed for relief under

 Chapter 11, Subchapter V of the Bankruptcy Code (the “Bankruptcy Case”). See Bankr. Docket

 No. 1. The Debtor did not obtain a supersedeas bond pending its appeal, after the entry of the

 Judgment or before the bankruptcy filing.

          6.    Early in the Debtor’s Bankruptcy Case, Ringba filed an Ex Parte Motion for Order

 Authorizing Rule 2004 Examination of Debtor DNC and TCPA List Sanitizer, LLC and Cashyew

 Holding. See Docket No. 22. On August 28, 2024, the Debtor likewise filed an Ex Parte Motion

 for Order Authorizing Rule 2004 Examination of Creditor Ringba, LLC’s Agents Adam Young

 and Harrison Gurvitz [sic] (the “Debtor 2004 Motion”). See Bankr. Docket No. 135.

          7.    The next day, Ringba filed an Unopposed Emergency Motion to Seal the 2004

 Motion (the “Seal Motion”). See Bankr. Docket No. 137. The basis for the Seal Motion was Mr.

 O’Hare’s purposeful disclosure of matters that were designated as “Highly Confidential –

 Attorneys’ Eyes Only,” pursuant to the Protective Order. On the same day, the Court entered an

 Order sealing the Debtor 2004 Motion (Bankr. Docket No. 138) and, thereafter, on August 30,

 2024, entered an Order denying the Debtor 2004 Motion in its entirety, finding that, “[h]ere, Debtor

 has not shown the proposed examination(s) fall within the appropriate scope of FED. R. BANKR. P.

 2004.”. See Bankr. Docket No. 140 at 1.




 124763022.1                                      5
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page6 of 64




          8.    Based on Mr. O’Hare’s violation of the Protective Order, on September 4, 2024,

 Ringba filed a Verified Motion and Affidavit for Citation for Contempt of Court in the State Court

 Litigation (the “Contempt Motion,” which initiated the “Contempt Action”). See Contempt

 Motion, Exhibit C. In the Contempt Motion, Ringba seeks the State Court’s enforcement of the

 Protective Order against Mr. O’Hare individually, including the following requested relief, which

 is applicable only to Mr. O’Hare:

                a.      Payments of reasonable costs and attorneys’ fees Ringba incurred
                related to [the Contempt Action];

                b.      Payment of reasonable costs and attorneys’ fees Ringba incurred
                related to sealing the Interrogatory List in the Bankruptcy Court;

                c.      Mr. O’Hare must meet with his prior attorneys and develop an
                affidavit of all information designated as Attorneys’ Eyes Only that was
                shared with him. This affidavit must be provided to Ringba and filed with
                the Court under seal;

                d.     An affidavit from Mr. O’Hare listing every document, written
                communication, or recorded communication in his possession that includes
                reference to the Highly Confidential—Attorneys’ Eyes Only information.
                This affidavit must be provided to Ringba and filed with the Court under
                seal;

                e.     An order requiring Mr. O’Hare to either destroy or provide to the
                Court all copies of documents, communications, and recording identified in
                18(d);

                f.       An order requiring Mr. O’Hare and his prior attorney Jeffrey Cohen
                to sit for a deposition where Ringba will inquire into the sharing of Highly
                Confidential Attorneys’ Eyes Only information with Mr. O’Hare. Mr.
                O’Hare will be responsible for the fees and costs incurred in those
                depositions;

                g.     An order permanently enjoining Mr. O’Hare from using or sharing
                the Highly Confidential – Attorneys’ Eyes Only information identified by
                Mr. Cohen in 18(b) without prior authorization from this Court (and any
                such request be submitted to the Court in a filing that is filed as Suppressed
                or Sealed).




 124763022.1                                      6
Case:25-01124-KHT Doc#:14 Filed:05/05/25              Entered:05/05/25 16:25:29 Page7 of 64




                h.     Any additional relief the Court determines is reasonable, just, or
                necessary to ensure future compliance with the Court’s Orders.

 Ex. C ¶ 17. The Contempt Motion does not contain any requested relief as to the Debtor.

          9.    On April 3, 2025, approximately seven months after Ringba filed its Contempt

 Motion, the Debtor, in its Bankruptcy Case, filed a Motion to Extend Automatic Stay to Michael

 O’Hare in his Representative Capacity for the Debtor, concerning the Contempt Action. Bankr.

 Docket No. 352. On April 8, 2025, the Court summarily denied that motion “without prejudice to

 the filing of an adversary proceeding in compliance with applicable rules of procedure.” Bankr.

 Docket No. 356.

          10.   On April 11, 2025, the Debtor and Mr. O’Hare filed a Complaint for a Temporary

 Restraining Order and for Declaratory and Injunctive Relief (the “Complaint”), initiating the

 instant Adversary Proceeding. See Docket No. 1. The Complaint includes two claims for Relief:

 (I) Declaration that the Automatic Stay of Section 362(a) of the Bankruptcy Code Stays any Pursuit

 of the Contempt Litigation Against Plaintiffs; and (II) Injunctive Relief Pursuant to 11 U.S.C.

 § 105(a). See generally Complaint. Distilled to its essence, the Debtor and Mr. O’Hare, through

 the Complaint, request that the automatic stay apply to Mr. O’Hare and this Court stay the

 Contempt Action against Mr. O’Hare.

          11.   Contemporaneously, the Debtor and Mr. O’Hare filed a Motion of DNC and TCPA

 List Sanitizer, LLC and Michael O’Hare for a Temporary Restraining Order and for Declaratory

 and Injunctive Relief (the “Motion”). The Motion requests two forms of relief: (i) a temporary

 restraining order (the “TRO Motion”); (ii) preliminary and permanent injunctions enjoining Adam

 Young and Ringba from continuing to prosecute the State Court Contempt Litigation (the “PI

 Motion”); and, alternatively, (iii) a declaration that the Contempt Action is a violation of the

 automatic stay. See Docket No. 3, Preliminary Statement. Also, on April 11, 2025, the Debtor


 124763022.1                                     7
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page8 of 64




 filed a Memorandum of Law in Support of Complaint of DNC and TCPA List Sanitizer, LLC and

 Michael O’Hare for a Temporary Restraining Order and for Declaratory and Injunctive Relief (the

 “Memorandum”). Docket No. 4.

          12.   This Court summarily denied the TRO Motion in its April 14, 2025 Order, finding

 that the Debtor and Mr. O’Hare “[had] not set forth specific facts clearly showing an immediate

 and irreparable injury, loss, or damage will result before the adverse party can be heard in

 opposition.” The Court also noted numerous other procedural defects that precluded the requested

 relief. See Docket No. 8.

          13.   On April 23, 2025, Ringba filed its Unopposed Motion for Extension of Time to

 Respond to (i) Motion of DNC and TCPA List Sanitizer, LLC and Michael O’Hare for a

 Temporary Restraining Oder and for Declaratory and Injunctive Relief; and (ii) Complaint for

 Temporary Restraining Order and for Declaratory and Injunctive Relief (the “Extension Motion”).

 See Docket No. 11. The Court granted the Extension Motion, providing that Ringba may file a

 response to the PI Motion on or before May 5, 2025, and may file a responsive pleading to the

 Complaint on or before May 14, 2025. See Docket No. 12.

                                            ARGUMENT

 A.       Applicable Legal Authority Applying to Preliminary Injunction Motions

          14.   Generally, “[t]o prevail on a preliminary injunction motion, the movant bears the

 burden of showing that: (1) they are likely to succeed on the merits; (2) they will suffer irreparable

 injury if the injunction is denied; (3) the threatened injury outweighs the injury the injunction

 would cause the opposing party; and (4) the injunction would not adversely affect the public

 interest.” Empower Annuity Ins. Co. of Am. v. Empower Fin., Inc., No. 23-CV-00062-CNS-SKC,

 2023 WL 5938831, at *2 (D. Colo. Sept. 12, 2023) (citing Beltronics USA, Inc. v. Midwest



 124763022.1                                       8
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page9 of 64




 Inventory Distribution, LLC, 562 F.3d 1067, 1070 (10th Cir. 2009)). “An injunction can issue only

 if each factor is established.” Id. (quoting Denver Homeless Out Loud v. Denver, Colorado, 32

 F.4th 1259, 1277 (10th Cir. 2022) (quotations omitted).

          15.    “Preliminary injunctions are extraordinary remedies requiring that the movant's

 right to relief be clear and unequivocal.” Nutritional Therapy Association, Inc., v. Rithmic

 Wellness, LLC, No. 124CV00478CNSSBP, 2024 WL 1073217, at *3 (D. Colo. Mar. 12, 2024)

 (quoting Planned Parenthood of Kan. v. Andersen, 882 F.3d 1205, 1223 (10th Cir. 2018))

 (quotations omitted). Because it is “an extraordinary remedy,” a preliminary injunction is “the

 exception rather than the rule.” Fox Factory, Inc. v. SRAM, LLC, No. 23-CV-00313-RM-KLM,

 2023 WL 4562546, at *2 (D. Colo. July 17, 2023) (quoting Free the Nipple-Fort Collins v. City of

 Fort Collins, Colorado, 916 F.3d 792, 797 (10th Cir. 2019)) (quotations omitted). In this case, in

 addressing the four customary factors for a preliminary injunction, it is clear that the requested

 relief cannot be granted.

 B.       The Automatic Stay Does Not Apply to Michael O’Hare and the Debtor Has Not
          Demonstrated a Strong Likelihood of Success on the Merits

          16.   The automatic stay cannot extend to non-debtor Mr. O’Hare and therefore the PI

 Motion must be denied. To warrant issuance of preliminary injunction, a plaintiff must first

 demonstrate that it has a “strong likelihood of success on the merits.” McDonnell v. City & Cnty.

 of Denver, 878 F.3d 1247, 1252–53 (10th Cir. 2018); see also In re Content Distrib., Inc., No. 10-

 34729 MER, 2011 WL 5244900, at *4 (Bankr. D. Colo. Nov. 2, 2011) (“To obtain preliminary

 injunctive relief … a movant must show … the movant is likely to succeed on the merits at

 trial[.]”); In re Rare, LLC, 298 B.R. 762, 764 (Bankr. D. Colo. 2003) (“To receive a preliminary

 injunction, the plaintiff must establish … a substantial likelihood of success on the merits of the

 case[.]”).


 124763022.1                                     9
Case:25-01124-KHT Doc#:14 Filed:05/05/25                          Entered:05/05/25 16:25:29 Page10 of 64




          17.      The PI Motion must be denied because the Debtor’s claims requesting to extend

 the automatic stay to Mr. O’Hare, for his contemptuous post-petition misconduct, and to declare

 Ringba in violation of the automatic stay, are completely meritless. Specifically, the Debtor and

 Mr. O’Hare do not have a strong likelihood of success on the merits of their claims for at least four

 reasons: (i) the automatic stay under 11 U.S.C. § 362(a) does not apply to post-petition claims,

 such as the Contempt Action; (ii) the automatic stay does not apply to the Contempt Action; (iii)

 even if the automatic stay applied to post-petition contempt actions, the automatic stay does not

 and cannot extend to a non-debtor third party, such as Mr. O’Hare; and (iv) the Debtor does not

 have a reasonable likelihood of a successful reorganization, to the extent that consideration applies

 in the Tenth Circuit. 3

                i. The Bankruptcy Automatic Stay Does Not Apply to Post-Petition Actions Such
                   as the Contempt Action

          18.      The Debtor is not likely to succeed on the merits of its claims because the Contempt

 Action arises from post-petition, non-debtor conduct and therefore is not subject to the automatic

 stay. As set forth in the Bankruptcy Code, actions that arise post-petition are exempt from the

 automatic stay. 11 U.S.C. § 362(a)(1) (stating that the filing of a bankruptcy petition stays “the


 3
   The Debtor and Mr. O’Hare argue that, to determine the PI Motion, this Court should ignore the substance of their
 meritless Complaint, and instead focus on the Debtor’s likelihood of reorganization. Memo. at 18, 20. For this
 contention, they cite a single case from 1997, out of the Bankruptcy Court for the Southern District of New York. See
 id.; see also In re Health Care Org., 210 B.R. 228, 232–33 (S.D.N.Y. 1997). This argument should be rejected for
 multiple reason. First, the Debtor fails to cite any Tenth Circuit case law suggesting this Court should ignore the four
 factors routinely applied where a movant seeks a preliminary injunction. Second, as discussed below, the application
 of this out-of-circuit standard is completely inappropriate here where the automatic stay clearly does not apply to the
 post-petition Contempt Action. Third, a primary consideration in Health Care Org. was whether the action sought to
 be stayed would “adversely effect[]” the debtor’s bankruptcy estate. Id. There is no such concern here because, as
 explained below, the Contempt Action seeks relief only against Mr. O’Hare, and the Debtor has no (or at most,
 nominal) indemnification obligations to Mr. O’Hare (i.e., because Mr. O’Hare was not operating within the “ordinary
 course of business” when he disclosed Ringba’s confidential information, and Ringba, in any event, seeks only fees
 and costs from Mr. O’Hare, not a money judgment). Finally, as explained below, even if this out-of-circuit standard
 applied (which it should not), the PI Motion should be denied because the Debtor in the underlying Bankruptcy Case
 does not have a reasonable likelihood of successful reorganization. (See the multiple objections and joinders to
 objections to confirmation of the Plan, at Docket Nos. 345 (United States Trustee); 348 (Subchapter V Trustee); 355
 (Cohen, LLC); 357 (GLegal, LLC); 359 (Ringba)).


 124763022.1                                               10
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page11 of 64




 commencement or continuation . . . of a judicial, administrative, or other action or proceeding

 against the debtor that was or could have been commenced before the commencement of the

 case under this title, or to recover a claim against the debtor that arose before the

 commencement of the case under this title” (emphasis added)). Stated differently, “[t]he stay is

 limited to actions that could have been instituted before the petition was filed or that are based on

 claims that arose before the petition was filed. It does not include actions arising post-petition.”

 Garrett v. Cook, 652 F.3d 1249, 1255 (10th Cir. 2011) (quoting Bellini Imports, Ltd. v. Mason &

 Dixon Lines, Inc., 944 F.2d 199, 201 (4th Cir. 1991)) (holding that motion for attorneys’ fees and

 costs against debtor was not subject to automatic stay because fees arose out of debtor’s

 “unfounded” post-petition attempt to remove litigation to federal court); see In re Wajcman, No.

 10-22206, 2011 WL 4915007, at *2 (Bankr. D. Kan. Oct. 17, 2011) (“Actions on claims that arise

 after the commencement of the [bankruptcy] case are not stayed.” (quoting 3 Collier on

 Bankruptcy, ¶ 362.03[3](c) (Alan N. Resnick & Henry J. Sommer, eds.-in-chief, 16th ed. 2011))).

 Therefore, post-petition actions that could not have been initiated prior to the bankruptcy filing,

 whether against the debtor or a non-debtor, are exempt from the automatic stay.

          19.   Ringba’s Contempt Action arises out of Mr. O’Hare’s separate post-petition

 conduct and is therefore not subject to the automatic stay under 11 U.S.C. § 362(a). The Debtor

 initiated this Bankruptcy Case on May 16, 2024. See Bankr. Docket No. 1. Then, months later, on

 August 28, 2024, the Debtor 2004 Motion was filed in this Bankruptcy Case, seeking relief under

 FED. R. BANKR. P. 2004. See Bankr. Docket Nos. 135, 135-1. Attached to the Debtor 2004 Motion

 was a List of Interrogatories (at Docket No. 135-1) that disclosed information that was designated

 as “Highly Confidential – Attorneys’ Eyes Only” in the State Court Litigation. Mr. O’Hare

 (impermissibly) possessed this acknowledge, was aware of his confidentiality obligations, but



 124763022.1                                      11
Case:25-01124-KHT Doc#:14 Filed:05/05/25                         Entered:05/05/25 16:25:29 Page12 of 64




 nonetheless decided to publicly disclose the highly confidential information in the Debtor 2004

 Motion. This disclosure by Mr. O’Hare was a blatant post-petition violation of the Protective Order

 and formed the basis of Ringba’s post-petition Contempt Action against Mr. O’Hare.

          20.      In short, Mr. O’Hare did not violate the Protective Order until after the petition

 date. Accordingly, the claim did not arise until after the petition date and Ringba could not have

 initiated the Contempt Action prior to the Debtor’s Bankruptcy Case. See 11 U.S.C. § 362(a)(1).

 Thus, it is of no moment that the Protective Order was entered and the State Court Litigation that

 was commenced prior to the petition date of the Debtor’s Bankruptcy Case. Ringba’s Contempt

 Action is based on post-petition behavior by a non-debtor and is not subject to the automatic stay.

 For this reason alone, the PI Motion must be denied.4

                ii. The Bankruptcy Automatic Stay Does Not Apply to the Contempt Action

          21.      Additionally, the automatic stay of 11 U.S.C. § 362(a) does not apply to contempt

 proceedings, such as the Contempt Action. Courts recognize that certain types of contempt

 proceedings, against either debtors or non-debtors, are not subject to the bankruptcy automatic

 stay. Specifically, “if the purpose of the contempt order is to uphold the dignity of the court, the

 civil contempt order may be excepted from the automatic stay of § 362(a).” Kukui Gardens Corp.

 v. Holco Cap. Grp., Inc., 675 F. Supp. 2d 1016, 1027 (D. Haw. 2009) (emphasis added); see also

 ClearOne Commc’ns, Inc. v. Bowers, 509 F. App’x 798, 803 (10th Cir. 2013) (observing that

 contempt order did not violate automatic stay “so long as its ‘main purpose [was] to punish a

 contemnor and uphold the dignity of the court’” (quoting Kukui Gardens, 675 F. Supp. 2d at 1026–

 27)); US Sprint Commc’ns Co. v. Buscher, 89 B.R. 154, 156–57 (D. Kan. 1988) (analyzing case

 law distinguishing between contempt citation to “uphold dignity of the court” versus one to


 4
  The post-petition “exception” to the automatic stay under 11 U.S.C. § 362(a) applies to claims against either debtors
 or non-debtors. See, e.g. Garrett, 652 F.3d at 1255.


 124763022.1                                              12
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page13 of 64




 “enforce payment of a judgment”); In re Burgess, 503 B.R. 154, 157 (Bankr. M.D. Fla. 2014)

 (“[C]ourts have declined to read section 362(a) in a way that precludes post-petition proceedings

 to enjoin disobedient conduct.”).

          22.   Moreover, 11 U.S.C. § 362(b)(4) specifically exempts from the automatic stay,

 “the commencement or continuation of an action or proceeding by a governmental unit . . . to

 enforce such governmental unit’s or organization’s police and regulatory power,” which courts

 have held applies to the judiciary’s enforcement of a contempt order brought by a litigant. 11

 U.S.C. § 362(b)(4); see U.S. v. Coulton, 594 F. App’x. 563, 566 (11th Cir. 2014) (“Section

 362(b)(4) applies in this action because the judiciary action through [the litigant] as a surrogate, in

 effect ‘brought’ the contempt proceeding.”); see also In re Michael J. Roberts, Sr., Case No. 22-

 10521-JGR (May 13, 2022), Docket No. 161 (“Pursuant to 11 U.S.C. § 362(b)(4), the automatic

 stay does not apply to the Denver District Court’s contempt and enforcement proceedings against

 Michael Roberts, Sr. in Case No. 2015CV31828, including but not limited to the enforcement of

 the court’s … Contempt Order of January 6, 2020[.]”).

          23.   In contrast, a contempt action initiated to “enforce a money judgment” or pursue

 any other “collection motive,” would be subject to the automatic stay. See Kukui Gardens, 675 F.

 Supp. 2d at 1027 (quoting In re Lincoln, 264 B.R. 370, 374 (Bankr. E.D. Pa. 2001)). However,

 importantly, the mere fact that a contempt judgment may impose a financial obligation does not

 automatically invoke the bankruptcy stay and immunize the violating party. See Walsh v. Paragon

 Contractors Corp., No. 2:06-CV-700-TC, 2022 WL 1224975, at *5 (D. Utah Apr. 26, 2022); see

 also In re Gedeon, 31 B.R. 942, 946 (Bankr. D. Colo. 1983) (“A civil fine, meant to coerce a

 defendant to obey a court order, would seem to be imposed to uphold the dignity of the court, even

 though the fine is payable to a plaintiff.”). This exemption to the automatic stay applies to actions



 124763022.1                                       13
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page14 of 64




 and orders against either non-debtors or debtors in bankruptcy. See, e.g., Gedeon, 31 B.R. at 946

 (allowing petition to proceed for contempt fines, attorneys’ fees, and costs, against debtor in

 bankruptcy); ClearOne, 509 F. App’x at 803 (holding contempt proceedings could continue

 against debtor).

          24.      Ringba’s Contempt Action is against non-debtor Mr. O’Hare and serves the

 purpose of upholding the dignity of the State Court, not to “enforce payment of a judgment.” See

 Buscher, 89 B.R. at 156–57. As set forth in the Contempt Motion, Ringba seeks to enforce the

 Protective Order entered by the State Court; to require Mr. O’Hare to describe the scope of the

 highly confidential information inappropriately shared with him; to enjoin Mr. O’Hare from using

 or sharing additional confidential information in violation of the Protective Order; and an award

 of reasonable costs and attorneys’ fees associated with the Contempt Action. See Contempt

 Motion, Ex. A at 4–5. In other words, through the Contempt Action, Ringba is not seeking to

 collect on or enforce a money judgment against Mr. O’Hare. See id. Thus, the Contempt Action

 falls into the first category of contempt actions and orders that are exempt from the automatic stay

 under 11 U.S.C. § 362(b)(4) and under applicable case law: those that are intended to enforce an

 existing order and uphold the dignity of the court—in this case, the Protective Order and State

 Court. See 11 U.S.C. § 362(b)(4); see also Coulton, 594 F. App’x. at 566. For this separate and

 additional reason, the automatic stay does not apply to the Contempt Action and the Motion must

 therefore be denied.

                iii. The Automatic Stay Does Not Extend to Non-Debtor Third Parties, Including
                     Non-Debtor Members of a Debtor Limited Liability Company

          25.      Generally, the automatic stay afforded to debtors in bankruptcy does not apply to

 non-debtors, whether or not the non-debtor is related to or affiliated with the debtor. Under 11

 U.S.C. § 362(a), the filing of a bankruptcy petition stays “[t]he commencement or continuation . .


 124763022.1                                      14
Case:25-01124-KHT Doc#:14 Filed:05/05/25                   Entered:05/05/25 16:25:29 Page15 of 64




 . of a judicial, administrative, or other action or proceeding against the debtor that was or could

 have been commenced before the commencement of the [bankruptcy] case . . . or to recover a

 claim against the debtor that arose before the commencement of the [bankruptcy] case[.]” 11

 U.S.C. § 362(a)(1) (emphasis added). Pursuant to applicable legal authority from the Tenth Circuit

 Court of Appeals, the bankruptcy automatic stay may extend to non-debtors only if the bankruptcy

 court determines a narrow exception applies:

          While § 362 extends the stay provisions of the Bankruptcy Code to the “debtor”,
          the rule followed by this circuit and the general rule in other circuits is that the stay
          provision does not extend to solvent codefendants of the debtor. Fortier v. Dona
          Anna Plaza Partners, 747 F.2d 1324, 1330 (10th Cir. 1984) (citing other circuits);
          In re Metal Ctr., Inc., 31 B.R. 458, 462 (Bankr. D. Conn. 1983) (automatic stay
          does not apply where codefendant is independently liable from debtor). A narrow
          exception allows a stay to be imposed under section 362(a)(1) against a
          nonbankrupt party in “unusual situations” as “when there is such identity between
          the debtor and the third-party defendant that the debtor may be said to be the real
          party defendant and that a judgment against the third-party defendant will in effect
          be a judgment or finding against the debtor.” A.H. Robins Co. v. Piccinin, 788 F.2d
          994, 999 (4th Cir.), cert. denied, 479 U.S. 876, 107 S.Ct. 251, 93 L.Ed.2d 177
          (1986).

 Okla. Federated Gold & Numismatics, Inc. v. Blodgett, 24 F.3d 136, 141–42 (10th Cir. 1994)

 (emphasis added). In short, the automatic stay afforded by the Bankruptcy Code generally “extends

 stay proceedings only to actions ‘against the debtor[,]’” not “solvent co-defendants of the debtor”

 or other third parties, whether related to the debtor or not. Fortier v. Dona Anna Plaza Partners,

 747 F.2d 1324, 1330 (10th Cir. 1984); Glob. Logistics Sols., LLC v. Ciao Grp., Inc., No. 14-CV-

 2928-WJMCBS, 2016 WL 1586425, at *3 (D. Colo. Apr. 20, 2016) (“By its plain language, the

 statute applies the stay only to actions or proceedings ‘against the debtor.’ . . . Thus, the Tenth

 Circuit recognizes that, as a general rule, ‘the stay provision does not extend to solvent

 codefendants of the debtor.’”) (citations omitted) (emphasis in original) (quoting Blodgett, 24 F.3d

 at 141)); In re Agrawal, No. 16-11253-JDL, 2017 WL 6403066, at *2 (Bankr. W.D. Okla. Dec.



 124763022.1                                         15
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page16 of 64




 14, 2017) (“It is a black letter bankruptcy principle that 11 U.S.C. § 362(a) does not create a

 general, automatic stay of a creditor’s right to assert claims against non-debtor parties who are

 related to the debtor in some fashion.”).

          26.   Moreover, where a party seeks to extend the automatic stay to a non-debtor, “[t]he

 party invoking the stay has the burden to show that it is applicable.” In re Divine Ripe, L.L.C., 538

 B.R. 300, 302 (Bankr. S.D. Tex. 2015); see 2 WILLIAM L. NORTON, JR., NORTON BANKRUPTCY

 LAW AND PRACTICE § 43:4 (3d ed. Supp. 2010) (“Such injunctions [extending the automatic stay

 to non-debtors] are the exception rather than the norm, however, and generally the party seeking

 to extend the stay will bear the burden to show that ‘unusual circumstances’ exist warranting such

 an extension of the stay to a nondebtor.”).

          27.   Likewise, the automatic stay does not generally extend to non-debtors, even if the

 non-debtor is “related to the debtor in some fashion.” Agrawal, No. 16-11253-JDL, 2017 WL

 6403066, at *2; see Mar. Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1205 (3d Cir. 1991)

 (“[T]he automatic stay is not available to non-bankrupt co-defendants of a debtor even if they are

 in a similar legal or factual nexus with the debtor.”). For example, “section 362 does not bar an

 action against the principal of a debtor-corporation.” Mar. Elec. Co., 959 F.2d at 1205–6

 (emphasis added); see also CAE Indus. Ltd. v. Aerospace Holdings Co., 116 B.R. 31, 32–33

 (S.D.N.Y. 1990). Moreover, the automatic does not extend to non-debtor members of a limited

 liability company. In re Nilhan Devs., LLC, 622 B.R. 795, 803 (Bankr. N.D. Ga. 2020) (“[T]he

 automatic stay of acts ‘against the debtor’ is to be strictly construed. Actions as to the personal

 membership rights of LLC members are not actions against the LLC. Thus, actions against LLC

 members, in their individual capacity, do not violate the automatic stay.” (emphasis added)).

 Thus, non-debtor members or managers of a debtor limited liability company are not automatically



 124763022.1                                      16
Case:25-01124-KHT Doc#:14 Filed:05/05/25                          Entered:05/05/25 16:25:29 Page17 of 64




 entitled to the protections of the automatic stay. Consistent with that general rule, the automatic

 stay does not extend to Mr. O’Hare, in this case,

                iv. The Automatic Stay Does Not Extend to Non-Debtor Michael O’Hare

          28.      Here, the automatic stay does not extend to Mr. O’Hare because he is not a Debtor

 in bankruptcy. Instead, Mr. O’Hare is a third-party non-debtor and no unusual circumstances

 justify application of the narrow exception to the general rule that the automatic stay applies only

 to debtors in bankruptcy. Although Mr. O’Hare is a manager of the limited liability company that

 owns the Debtor, this fact does not entitle him to personal protection from the Contempt Action

 under the automatic stay. The Debtor and Mr. O’Hare fall well short of their burden demonstrating

 that this case constitutes an “unusual” situation where the “narrow exception” would apply. See

 Blodgett, 24 F.3d at 141–42.

          29.      Although unclear from the Memorandum, it appears the Debtor makes only two

 arguments as to why the automatic stay should extend to Mr. O’Hare in this case:5 (1) Mr. O’Hare

 and the Debtor share an identity of interest due to the Debtor’s purported indemnity obligations of

 Mr. O’Hare; and (2) the claims in the Contempt Action against Mr. O’Hare are in effect claims

 against the Debtor. Memo. at 11-14. As explained below, each of these arguments is baseless.6



 5
  Notably, although mentioned in the Complaint, in the Memorandum, the Debtor and Mr. O’Hare fail to accurately
 explain to this Court the case law regarding extension of the automatic stay to non-debtors. For example, the Debtor
 partially quotes Blodgett and asserts that “Section 362(a)(1) will be imposed to stay an action” where a judgment
 against the non-debtor is effectively a judgment against the debtor. Memo. at 11 (emphasis added). However, the
 actual quote from Blodgett states that “[a] narrow exception allows a stay to be imposed,” only in “unusual situations.”
 Blodgett, 24 F.3d at 141 (emphasis added). Here, Mr. O’Hare does not qualify for the permissive and narrow
 exception.
 6
   The Debtor and Mr. O’Hare also cite Section 362(a)(3) as a basis to extend the automatic stay to Mr. O’Hare.
 However, their apparent arguments pertain only to Section 362(a)(1). Section 362(a)(3) applies the automatic stay to
 “property of the estate[.]” Despite citing this statutory provision, the Debtor does not argue that the bankruptcy estate
 owns the claim in the Contempt Action. Thus, to the extent the Debtor argues the Contempt Action is property of the
 estate, this should also be rejected.




 124763022.1                                               17
Case:25-01124-KHT Doc#:14 Filed:05/05/25                          Entered:05/05/25 16:25:29 Page18 of 64




                          1. The Debtor is Not Obligated to Indemnify Mr. O’Hare and Nominal
                             Indemnity Does Not Justify Extension of the Automatic Stay

          30.      First, contrary to the Memorandum, the Debtor is not obligated to indemnify Mr.

 O’Hare for his conduct occurring outside the scope of the Debtor’s ordinary course of business. In

 the Memorandum, the Debtor and Mr. O’Hare assert that, “[i]n Colorado, members or managers

 of a limited liability company are entitled to indemnification for liability incurred in the ordinary

 course of business or preservation of its business[.]” Memo. at 12 (citing C.R.S. § 7-80-407).

 However, Mr. O’Hare was not acting in the “ordinary course of business” when he decided to

 violate the Protective Order. Of course, the Debtor’s business of providing lists of telephone

 numbers to its customers to aid them in avoiding litigation under the Telephone Communications

 Privacy Act, does not entail violating court orders or disclosing highly sensitive and confidential

 information in public forums. Indeed, this Court denied the Debtor 2004 Motion, finding that the

 “Debtor has not shown the proposed examination(s) fall within the appropriate scope of FED. R.

 BANKR. P. 2004.”. See Bankr. Docket No. 140 at 1. Therefore, even if it were true that

 indemnification alone satisfied the narrow exception to the general rule under 11 U.S.C. § 362(a)

 (it does not), the Debtor’s and Mr. O’Hare’s argument must be rejected because Mr. O’Hare’s

 violation of the Protective Order in the Debtor 2004 Motion was not in the “ordinary course” of

 the Debtor’s business.




 Similarly, the case cited by the Debtor, Robert W. Thomas & Anne McDonald Thomas Revocable Tr. v. Inland Pac.
 Colorado, LLC, is distinguishable. No. 11-CV-03333-WYD-KLM, 2013 WL 708493 (D. Colo. Feb. 26, 2013); see
 also Memo. at 14–15. That case concerned “fraudulent transfer claims.” Id. at *3. The court there concluded that “[a]
 claim that [the debtor’s] assets were fraudulently transferred by [co-defendant] O'Byrne or others would appear to be
 a claim that should be resolved in the bankruptcy proceeding, as it is an asset of [the debtor].” Id. (emphasis added).
 Here, the Debtor has no claim to the Contempt Motion and Action. There is no argument that the violation of the State
 Court Protective Order is an issue that “should be resolved in the bankruptcy proceeding.” Id. Further, there is no risk
 that an adverse outcome for Mr. O’Hare in the Contempt Action would in any way impact the bankruptcy estate. Thus,
 the Debtor’s and Mr. O’Hare’s reliance on this case is misplaced.



 124763022.1                                               18
Case:25-01124-KHT Doc#:14 Filed:05/05/25                           Entered:05/05/25 16:25:29 Page19 of 64




          31.      Further, even if Mr. O’Hare’s violation of the Protective Order were somehow

 considered an act in the “ordinary course” of the Debtor’s business (a specious argument), the

 argument still fails because nominal indemnification obligations do not satisfy the requirements

 for extending automatic stay to non-debtors. As noted, a bankruptcy court will only extend the

 automatic stay if “there is such identity between the debtor and the third-party defendant that the

 debtor may be said to be the real party defendant and that a judgment against the third-party

 defendant will in effect be a judgment or finding against the debtor.” A.H. Robins Co. v. Piccinin,

 788 F.2d 994, 999 (4th Cir. 1986). In support of this inquiry, some courts have considered the

 debtor’s “absolute indemnity” obligations to the non-debtor (i.e., in the event of a large adverse

 monetary judgment against the non-debtor). See, e.g., id.; see also CAE Indus. Ltd. v. Aerospace

 Holdings Co., 116 B.R. 31, 33–34 (S.D.N.Y. 1990). However, even where the debtor is obligated

 to indemnify a non-debtor under certain circumstances, the bankruptcy court must assess whether

 indemnification will have a “material effect” on the debtor’s reorganization efforts. See CAE

 Indus., 116 B.R. at 33–34; c.f. A.H. Robins Co. v. Piccinin, 788 F.2d at 1004 (where debtor was

 obligated to indemnify non-debtor with respect to “thousands of … actions and claims pending”);7

 In re Uni-Marts, LLC, 404 B.R. 767 (Bankr. D. Del. 2009) (“[T]he purpose served by extending

 the stay to directors and officers indemnified by the debtor must be consistent with the purpose of

 the stay itself, that is, to ‘suspend actions that pose a serious threat to a corporate debtor's

 reorganization efforts.’ (quoting In re First Cent. Fin. Corp., 238 B.R. 9, 19 (Bankr. E.D.N.Y.

 1999))). Even then, indemnity alone is not a sufficient basis to extend the automatic stay to a non-

 debtor. See Algamene Bank Nederland, N.V. v. Hallwood Industries, Inc., 133 B.R. 176, 180 n. 3


 7
  The Debtor cursorily cites A.H. Robins but fails to identify that it is entirely distinguishable from the instant matter.
 Unlike here, Robins involved absolute indemnity for “thousands” of actions that would have depleted the bankruptcy
 estate. The Debtor here is not obligated to indemnify Mr. O’Hare, and even then, only for nominal costs and fees.



 124763022.1                                                19
Case:25-01124-KHT Doc#:14 Filed:05/05/25                       Entered:05/05/25 16:25:29 Page20 of 64




 (W.D.Pa.1991) (where the court “reject[ed] the dictum … in A.H. Robins Co., Inc., 788 F.2d at

 999–1000, holding a stay permissible under [11 U.S.C. § 362(a)(1)] based solely on the existence

 of an indemnification agreement.”).

          32.     Here, even if the Debtor were legally obligated to indemnify Mr. O’Hare for the

 Contempt Action, it would only be obligated to the extent of the attorneys’ fees and costs incurred

 in the Contempt Action against O’Hare (and the efforts to seal the inappropriately disclosed

 information in this Bankruptcy Case). See Contempt Motion, Ex. C ¶ 17. Ringba is not otherwise

 seeking a monetary judgment in the Contempt Action against Mr. O’Hare (not to mention against

 the Debtor). Meanwhile, according to the Debtor’s own projections, it will allegedly have net

 income of $3,115,603 over the life of its Plan.8 See Docket No. 316 at 31. In comparison, the

 potential costs associated with the Contempt Action will be, at most, a fraction of that amount.

 Thus, this argument of the Debtor and Mr. O’Hare must be rejected; they do not share such an

 identity of interest due to any purported indemnity obligations, such that extension of the automatic

 stay would be justified.

                         2. The Contempt Action is Against Mr. O’Hare, Not the Debtor

          33.     Second, the Contempt Action concerns Mr. O’Hare’s contemptuous behavior, not

 the Debtor. Despite the cherrypicked language included in the Memorandum, a simple reading of

 the Contempt Motion reveals that it is based on Mr. O’Hare’s personal violation of the Protective

 Order. See Contempt Motion, Ex. C. As Mr. O’Hare and the Debtor fail to explain, Mr. O’Hare

 himself is obligated under the Protective Order not to disclose confidential information. The




 8
    For the same reasons, the Debtor’s and Mr. O’Hare’s arguments regarding “immediate adverse economic
 consequences for the Debtor’s estate” or that the Contempt Action would “seriously jeopardize[]” reorganization,
 should be rejected. Mot. at 3, 21. Ringba seeks only attorneys’ fees and costs—and only such fees and costs from Mr.
 O’Hare. The Debtor would not be liable or otherwise responsible for even these small sums, and thus this argument
 is baseless.


 124763022.1                                             20
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page21 of 64




 Contempt Motion and Action concern Mr. O’Hare’s misconduct and personal violation of the

 Protective Order. See, e.g., Id. ¶ 12 (“Mr. O’Hare ignored the Protective Order and made public

 sensitive information[.]”). Moreover, Ringba specifically “requests . . . from Mr. O’Hare” certain

 remedies (e.g., to enforce the Protective Order, assess the scope of his violation, prevent further

 violations, and to recover fees and costs). Id. ¶ 17 (emphasis added). Ringba seeks only to enjoin

 Mr. O’Hare and to require Mr. O’Hare to detail the scope of his violation.

          34.   Of course, Mr. O’Hare violated the Protective Order in this Bankruptcy Case,

 through the Debtor 2004 Motion filed by the Debtor. However, the mere fact that Mr. O’Hare

 committed his violation in this Bankruptcy Case does not overcome the fact that he individually

 and affirmatively chose to violate the Protective Order by disclosing his personal knowledge of

 the highly confidential information. To hold otherwise would be to elevate form over substance

 with respect to the violation, and to essentially inoculate an individual from his contemptuous

 misconduct, only because he chose to filter his violation through this Bankruptcy Case. Indeed, as

 this Court held in its Order denying the Debtor 2004 Motion, the proposed examinations (which

 included questioning on the irrelevant and Highly Confidential – Attorneys’ Eyes Only

 information disclosed by Mr. O’Hare) were not “within the appropriate scope of Fed. R. Bank. P.

 2004.” Bankr. Docket No. 140. Thus, even the ostensibly ordinary Debtor 2004 Motion was, in

 fact, lacking any legitimate purpose related to the Bankruptcy Case, and instead was simply a

 vehicle for Mr. O’Hare to harass Ringba and violate the Protective Order. As such, any argument

 that Mr. O’Hare is protected in the Contempt Action by virtue of the fact that his violation occurred

 in the Debtor 2004 Motion, must be rejected.

          35.   Likewise, the Debtor’s and Mr. O’Hare’s conclusory arguments that “a judgment

 against the [sic] Mr. O’Hare will in effect be a judgment or finding against the Debtor” should also



 124763022.1                                      21
Case:25-01124-KHT Doc#:14 Filed:05/05/25                           Entered:05/05/25 16:25:29 Page22 of 64




 be rejected. Memo. at 12–13. Far from being “predicated entirely on a theory of the Debtor’s

 liability,” the Contempt Action concerns only Mr. O’Hare’s personal violation of the Protective

 Order; nothing is “predicated” on first finding the Debtor liable. Id. at 13. This misrepresentation

 of the nature of relief sought by Ringba is plainly contradicted by the Contempt Motion itself. See

 Contempt Motion, Ex. A ¶ 17. Thus, the Debtor and Mr. O’Hare do not share such an identity of

 interest that the narrow exception to the general rule regarding the automatic stay should apply

 here. The Motion should be denied because the Debtor does not have a strong likelihood of success

 the merits.9

                v. The Debtor Does Not Have a Reasonable Likelihood of Successful
                   Reorganization

          36.      Finally, even if this Court were inclined to adopt the purported out-of-circuit

 standard cited by the Debtor and Mr. O’Hare, the Debtor does not have a “reasonable likelihood

 of successful reorganization.” See Memo. at 19; see also supra note 3. In its three-sentence

 analysis, the Debtor argues that it can “easily demonstrate a reasonable likelihood of a successful

 reorganization,” citing that it “is diligently pursuing efforts to formulate and effectuate a plan of

 reorganization[.]” Memo. at 20. Quite the opposite, the Debtor has engaged in rampant bad faith




 9
   The case law cited by the Debtor is also entirely distinguishable from the facts here. For example, in Crocs, there
 was “entwinement” between the debtor and its codefendants, because “[t]he same claims [were] asserted against both
 [the debtor and non-debtor],” and the two had been “operating largely as a single entity in their defense of the lawsuit.”
 Crocs, Inc. v. Effervescent, Inc., No. 06-CV-00605-PAB-KMT, 2018 WL 11413994, at *1 (D. Colo. Mar. 19, 2018).
 Without the debtor, the litigation would have had to “proceed in a piecemeal fashion.” Id.

 That is not the case here. The Contempt Action is against Mr. O’Hare, not the Debtor, thus there are no claims against
 the Debtor, not to mention the “same claims.” The Contempt Action concerns only Mr. O’Hare and thus the Contempt
 Action can and will be fully adjudicated without the Debtor. Crocs is thus entirely inapplicable here.

 Likewise, unlike in Queenie, there will be no adverse economic consequences for the Debtor’s estate, because the
 Debtor is not obligated to indemnify Mr. O’Hare for his actions outside the ordinary course of business (and even
 then, such costs and fees would be nominal and would not jeopardize the bankruptcy estate). See Queenie, Ltd. v.
 Nygard Int’l, 321 F.3d 282, 287 (2d Cir. 2003).



 124763022.1                                                22
Case:25-01124-KHT Doc#:14 Filed:05/05/25                       Entered:05/05/25 16:25:29 Page23 of 64




 misconduct in this Bankruptcy Case and Debtor’s third10 proposed amended plan contains fatal

 flaws to the plan and this Bankruptcy Case. The Debtor is not likely to successfully reorganize.

            37.      As discussed in Ringba’s Objection to Debtor’s Fourth Amended Sub-Chapter V

 Plan of Reorganization Dated February 26, 202511 (the “Plan,” at Bankr. Docket No. 316), and in

 prior briefing, including Ringba’s Motion to Convert the Bankruptcy Case to a Chapter 7 Case (at

 Bankr. Docket No. 151), the Debtor (and Mr. O’Hare) have engaged in improper conduct since

 the inception of this Bankruptcy Case, including but not limited to:

                  a. making various and substantial unexplained cash payments to insiders, including

                     paying Cashyew Holding, LLC (wholly owned by the O’Hares) a sum of $50,000

                     per month as a “management fee,” and separately and directly paying the O’Hares

                     $40,000 per month (see, e.g., Docket Nos. 55 ¶ 15, 91, 91-1, 91-2, 130, 130-1);

                  b. dually attempting to have Cashyew (and therefore the O’Hares) paid through a

                     motion to assume a management agreement (which would only apply to pre-

                     petition contracts), and then simultaneously seeking administrative expenses

                     related to the same purported agreement (which would only apply to post-position

                     contracts) (see Docket Nos. 58, 302);

                  c. failing to fully comply with discovery obligations by providing only a small amount

                     of requested information in response to discovery requests (see Docket No. 22);

                  d. making other unauthorized post-petition transfers to favored creditors, outside of

                     the bankruptcy process and without court authorization or approval (see Docket

                     Nos. 120 ¶ 5; 115; 316 at 8);


 10
   The Debtor refers to its latest plan as the “Fourth Amended Sub-Chapter V Plan of Reorganization.” Docket No.
 316. However, this is actually the Debtor’s third proposed plan.
 11
      Ringba’s Objection was submitted at Bankruptcy Docket No. 359.


 124763022.1                                             23
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page24 of 64




                e. submitting deficient schedules (see Docket No. 1); and

                f. as relevant here, Mr. O’Hare’s disclosing “Highly Confidential – Attorneys’ Eyes

                   Only” information in the Debtor 2004 Motion, to Ringba’s significant harm. See

                   Bankr. Docket Nos. 135, 135-1.

          38.      Additionally, as raised by Ringba in its Objection to the proposed Plan, there are

 myriad of other substantial concerns that will jeopardize the Debtor’s likelihood of reorganization.

 See generally Docket No. 359. These substantial objections include, but are not limited to: (i) the

 Plan being proposed in bad faith and to avoid funding a supersedeas bond pending its appeal of

 Ringba’s judgment; (ii) the Plan proposes to significantly and purposely delay payment to its two

 major unsecured creditors; (iii) the Plan and this Bankruptcy Case represent a two-party dispute

 between the Debtor and Ringba; (iv) the Debtor proposes to pay only a percentage of the claims

 owed to unsecured creditors; and (v) the proposed Plan is not feasible.

          39.      Finally, as noted above, four other parties (the United States Trustee, Subchapter V

 Trustee, Cohen, LLC, and GLegal, LLC) have also objected to the Plan (or joined objections).

 Thus, the Debtor is unlikely to confirm a plan and to successfully reorganize. For this additional

 reason, the preliminary injunction Motion should be denied.

 C.       The Debtor Cannot Satisfy the Remaining Elements Required for a Preliminary
          Injunction

          40.      Because the Debtor and Mr. O’Hare do not have a strong likelihood of success on

 the merits (indeed, their claims are completely meritless), the PI Motion must be denied. However,

 as set forth below, the PI Motion is also fatally flawed because it fails to satisfy any of the

 remaining elements required for issuance for a preliminary injunction.




 124763022.1                                        24
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page25 of 64




                i. The Debtor Has Not Demonstrated Irreparable Harm

          41.      The Debtor’s and Mr. O’Hare’s PI Motion should be denied because they have not,

 and cannot, demonstrate irreparable harm. “The purpose of a preliminary injunction is not to

 remedy past harm but to protect plaintiffs from irreparable injury that will surely result without

 their issuance.” Empower, 2023 WL 5938831, at *2 (quoting Schrier v. Univ. Of Co., 427 F.3d

 1253, 1267 (10th Cir. 2005)). To be “irreparable,” the harm must be a type that is incapable of

 compensation with money. Empower, 2023 WL 5938831, at *2 (“To establish probable irreparable

 harm, the movant must demonstrate a significant risk that [it] will experience harm that cannot be

 compensated after the fact by money damages.” (internal quotations omitted)). “Economic loss

 does not typically constitute irreparable harm, as economic loss is fully compensable after the fact

 by money damages.” Gunnison Cnty. Stockgrowers’ Ass’n, Inc. v. U.S. Fish & Wildlife Serv., No.

 1:23-CV-3258, 2023 WL 8702078, at *6 (D. Colo. Dec. 15, 2023).

          42.      Additionally, the harm—if irreparable—must also be more than serious or

 substantial. Empower, 2023 WL 5938831, at *2 (“Irreparable harm is more than merely serious or

 substantial harm.”); Springer v. Seventh Jud. District. Ct., No. 1:23-CV-0499-MISJMR, 2024 WL

 22085, at *10 (D. N.M. Jan. 2, 2024) (“Irreparable harm is not harm that is merely serious or

 substantial.” (internal quotations omitted and emphasis in original)). Finally, there must be a

 substantial degree of “imminence” to that serious or substantial irreparable harm. Empower, 2023

 WL 5938831, at *2 (“[T]he party seeking injunctive relief must show that the injury complained

 of is of such imminence that there is a clear and present need for equitable relief to prevent

 irreparable harm.”).

          43.      Here, the Debtor and Mr. O’Hare fail to satisfy the difficult burden to demonstrate

 that they face immediate and irreparable harm. Their only arguments in furtherance of this element



 124763022.1                                       25
Case:25-01124-KHT Doc#:14 Filed:05/05/25                      Entered:05/05/25 16:25:29 Page26 of 64




 is that, as argued above, the Debtor’s reorganization efforts will be “negatively impacted” by the

 Contempt Action, due to the Debtor’s alleged obligations to indemnify Michael O’Hare, and

 because “Ringba’s claim of wrongdoing is directed against TCPA.” Memo. at 19 (emphasis in

 original). However, as explained, the Debtor is not obligated to indemnify Mr. O’Hare for

 misconduct outside the ordinary course of business; Mr. O’Hare’s violation of the Protective Order

 and disclosure of highly confidential information is not related to the ordinary carrying out of the

 Debtor’s business. Indeed, this Court denied the Debtor 2004 Motion (containing the improper

 disclosure) as being outside the scope of the purpose of such examinations.

           44.    Further, even if there were indemnification obligations, such monetary obligations

 would be minimal; Ringba seeks only costs and fees, not a monetary judgment. The non-monetary

 relief that Ringba seeks is far from irreparable and instead requires Mr. O’Hare to undertake

 minimal remedial steps, such as documenting the scope of information inappropriately disclosed

 and refraining from additional, ongoing violations of the Protective Order. Contempt Motion, Ex.

 C ¶ 17.

           45.    Finally, the notion that the Contempt Action “is directed” at the Debtor is plainly

 contradicted by the Contempt Motion itself. See id. Although Mr. O’Hare committed his violation

 of the Protective Order during this Bankruptcy Case, the Contempt Action concerns his personal

 misconduct and is thus aimed at preventing and remedying Mr. O’Hare’s violations. Ringba’s

 requested relief, even if granted in full, would and could enjoin and obligate only Mr. O’Hare, not

 the Debtor itself.12 See id. ¶ 17. Thus, the Debtor has failed to demonstrate “irreparable” harm.




 12
   Of course, the Debtor is also (already) obligated not to disclose confidential information, per the State Court
 Protective Order.


 124763022.1                                            26
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page27 of 64




                ii. The Balance of Harms Strongly Favors Ringba

          46.      Additionally, the balance of harms strongly favors Ringba and denial of the PI

 Motion. “To be entitled to a preliminary injunction, the movant has the burden of showing that the

 threatened injury to the movant outweighs the injury to the other party under the preliminary

 injunction.” Rithmic Wellness, LLC, 2024 WL 1073217, at *6. A movant’s “theoretical” injuries

 are insufficient. See Vendr, Inc. v. Tropic Techs., Inc., No. 2:23-CV-165-DAK-DAO, 2023 WL

 3851838, at *11 (D. Utah June 6, 2023) (finding that balance did not weigh in favor of injunction

 where “[t]he alleged injuries [the movant] describes in its motion are theoretical at this point”).

          47.      In this case, while the harm to the Debtor is nonexistent, the harm to Ringba is

 significant. The information disclosed by Mr. O’Hare, in violation of the existing Protective Order,

 is damaging to Ringba’s business reputation. It was for this very reason that the State Court

 determined the same should be subject to the extremely high confidentiality designation, “Highly

 Confidential – Attorneys’ Eyes Only.” In turn, the harm to the Debtor of allowing the Contempt

 Action to proceed is nonexistent; the Debtor will not be liable if the State Court rules favorably on

 Ringba’s Contempt Motion. Further, the “harm” to Mr. O’Hare if the Contempt Motion is granted

 would be minimal, only requiring him to comply with the Protective Order he was already

 obligated to comply with and to remedy his prior violations, including by accounting for this scope

 of his violation through an affidavit and reimbursement of Ringba’s attorneys’ fees and costs for

 the Contempt Action. This relief, requiring Mr. O’Hare merely to cover costs and fees and to

 identify the scope of his violation of the Protective Order, does not outweigh the ongoing and

 significant harm to Ringba resulting from the illegal disclosure of its highly confidential

 information. Thus, the Debtor has failed to satisfy the “balance of harms” element required for the

 imposition of a preliminary injunction.



 124763022.1                                      27
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page28 of 64




                iii. A Preliminary Injunction Would Not be in the Public Interest

          48.      Finally, the public interest does not support imposition of a preliminary injunction

 in this instance where an injunction would, in effect, permit Mr. O’Hare to continue ignoring the

 State Court’s Protective Order. There is a strong public interest in the enforcement of existing

 court orders, particularly those that protect highly confidential and sensitive information about a

 litigant. Moreover, there is a strong public interest in permitting a litigant to proceed with its “day

 in court.” In comparison, the Debtor and Mr. O’Hare cannot contend that there is a public interest

 in permitting a member or manager of a limited liability company to use the corporate form as a

 shield against the consequences of his personal violation of another court’s orders. Further, Mr.

 O’Hare is not in bankruptcy and thus, although he seeks all the benefits of the protections of

 bankruptcy, i.e., the use of the automatic stay, he is subject to none of the requirements, e.g., this

 Court’s scrutiny of his finances and dealings. This Court should reject Mr. O’Hare’s attempts to

 invoke the protections of the bankruptcy afforded to the Debtor alone, not Mr. O’Hare for his

 personal liability and misconduct. As discussed at length, the Contempt Action poses no threat to

 the Debtor’s reorganization efforts, which are unlikely to succeed irrespective of the outcome of

 that proceeding. Thus, the PI Motion should be denied.

          WHEREFORE, Adam Young and Ringba, LLC respectfully request that the Court deny

 the Motion of DNC and TCPA List Sanitizer, LLC and Michael O’Hare for a Temporary

 Restraining Order and for Declaratory and Injunctive Relief filed on April 11, 2025, and requests

 such other and further relief as the Court deems just and proper.




 124763022.1                                        28
Case:25-01124-KHT Doc#:14 Filed:05/05/25   Entered:05/05/25 16:25:29 Page29 of 64




 Dated this 5th day of May, 2025.          Respectfully submitted,

                                           WOMBLE BOND DICKINSON(US) LLP

                                           By: /s/ Chad S. Caby
                                           Chad S. Caby, No. 30927
                                           S. Wilson Collins, No. 59504
                                           1601 19th Street, Suite 1000
                                           Denver, CO 80202
                                           Telephone: 303.623.9000
                                           Email: Chad.Caby@wbd-us.com
                                                   Wilson.Collins@wbd-us.com

                                           Attorneys for Defendants Adam Young and
                                           Ringba, LLC




 124763022.1                         29
Case:25-01124-KHT Doc#:14 Filed:05/05/25             Entered:05/05/25 16:25:29 Page30 of 64




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on May 5, 2025, the foregoing OBJECTION TO
 MOTION OF DNC AND TCPA LIST SANITIZER, LLC AND MICHAEL O’HARE FOR
 A TEMPORARY RESTRAINING ORDER AND FOR DECLARATORY AND
 INJUNCTIVE RELIEF FILED BY DEFENDANTS was electronically filed and served via
 CM/ECF pursuant to L.B.R. 9036-1, which action caused automatic electronic notice of such filing
 upon all parties in interest in this matter as follows:

  Aaron A. Garber, Esq.
  WADSWORTH GARBER WARNER CONRARDY, P.C.
  2580 W. Main St., Ste. 200
  Littleton, CO 80120
  Via: CM/ECF

  and

  Benjamin J. Woodruff, Esq.
  Jason R. Wareham, Esq.
  ALLEN VELLONE WOLF HELFRICH & FACTOR P.C.
  1600 Stout Street, Suite 1900
  Denver, CO 80202
  Via: CM/ECF

  Counsel for Plaintiff Michael O’Hare




                                                    s/ Jennifer Eastin
                                                    Of: Womble Bond Dickinson (US) LLP




 124763022.1                                   30
Case:25-01124-KHT Doc#:14 Filed:05/05/25   Entered:05/05/25 16:25:29 Page31 of 64




        EXHIBIT A
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page32 of 64




  DISTRICT COURT, EL PASO COUNTY STATE
  OF COLORADO
  270 Tejon Street, Colorado Springs, CO 80903
  TCPA LITIGATOR LIST                                            DATE FILED
                                                                 May 18, 2022 3:34 PM
                                                                 CASE NUMBER: 2021CV31668
  Plaintiff, v.

  ADAM YOUNG, an individual,
  TUBMANBURG LIMITED, a Bahamas
  corporation a/k/a Ringba, RINGBA, LLC a
  Delaware limited liability company.                   Case No.: 21 CV 31668

  Defendants.
  Attorneys for Plaintiff:

  Gary Tucker, Esq.
  501 S. Cherry Creek Street Eleventh Floor, 224
  Denver, Colorado 80246 (720) 939-1601
  GTucker@Glegal.us

    STIPULATED PROTECTIVE ORDER FOR LITIGATION INVOLVING PATENTS,
       HIGHLY SENSITIVE CONFIDENTIAL INFORMATION AND/OR TRADE
                               SECRETS



        1.        PURPOSE AND LIMITATIONS

        Disclosure and discovery activity in this action are likely to involve production of

 confidential, proprietary, or private information for which special protection from public

 disclosure and from use for any purpose other than prosecuting this litigation may be warranted.

 Accordingly, the parties hereby stipulate to and petition the court to enter the following Stipulated

 Protective Order. The parties acknowledge that this Order does not confer blanket protections on

 all disclosures or responses to discovery and that the protection it affords from public disclosure

 and use extends only to the limited information or items that are entitled to confidential treatment

 under the applicable legal principles. The parties further acknowledge, as set forth in Section 14.4,

 below, that this Stipulated Protective Order does not entitle them to file confidential information



                                                  1
Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page33 of 64




 under seal; C.R.C.P. 121, ¶ 1- 5 sets forth the procedures that must be followed and the standards

 that will be applied when a party seeks permission from the court to file material under seal.

        2.      DEFINITIONS

        2.1     Challenging Party: a Party or Non-Party that challenges the designation of

 information or items under this Order.

        2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is

 generated, stored or maintained) or tangible things that is in the possession of a Designating Party

 who believes in good faith that such Documents, Testimony, or Information is entitled to

 confidential treatment under applicable law.

        2.3     Counsel (without qualifier): Outside Counsel of Record and Designated House

 Counsel who seek access to “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY”

 information in this matter, (as well as their support staff).

        2.4     Designating Party: A Party or Non-Party that designates information or items that

 it produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL – ATTORNEYS’ EYES ONLY”, “HIGHLY CONFIDENTIAL – SOURCE

 CODE”.

        2.5     Disclosure or Discovery Material: all items or information, regardless of the

 medium or manner in which it is generated, stored, or maintained (including, among other things,

 testimony, transcripts, and tangible things), that are produced or generated in disclosures or

 responses to discovery in this matter.

        2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to

 the litigation who (1) has been retained by a Party or its counsel to serve as an expert witness or

 as a consultant in this action, (2) is not a past or current employee of a Party or of a Party’s




                                                    2
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page34 of 64




 competitor, and (3) at the time of retention, is not anticipated to become an employee of a Party or

 of a Party’s competitor.

        2.7     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Information or

 Items: extremely sensitive “Confidential Information or Items,” disclosure of which to another

 Party or Non-Party would create a substantial risk of serious harm that could not be avoided by

 less restrictive means.

        2.8     “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items: extremely

 sensitive “Confidential Information or Items” representing computer code and associated

 comments and revision histories, formulas, engineering specifications, or schematics that define

 or otherwise describe in detail the algorithms or structure of software or hardware designs,

 disclosure of which to another Party or Non-Party would create a substantial risk of serious harm

 that could not be avoided by less restrictive means.

        2.9     House Counsel: attorneys who are employees of a party to this action. House

 Counsel does not include Outside Counsel of Record or any other outside counsel.

        2.10    Non-Party: any natural person, partnership, corporation, association, or other legal

 entity not named as a Party to this action.

        2.11    Outside Counsel of Record: attorneys who are not employees of a party to this

 action but are retained to represent or advise a party to this action and have appeared in this action

 on behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

        2.12    Party: any party to this action, including all its officers, directors, employees,

 consultants, retained experts, and Outside Counsel of Record (and their support staffs).

        2.13    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

 Material in this action.




                                                   3
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page35 of 64




        2.14    Professional Vendors: persons or entities that provide litigation support services

 (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

 organizing, storing, or retrieving data in any form or medium) and their employees and

 subcontractors.

        2.15    Protected Material: any Disclosure or Discovery Material that is designated as

 “CONFIDENTIAL,” or as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”or as

 “HIGHLY CONFIDENTIAL – SOURCE CODE.”

        2.16    Receiving Party: A Party that receives Disclosure or Discovery Material from a

 Producing Party.

        3.      SCOPE

        The protections conferred by this Stipulation and Order cover not only Protected Material

 (as defined above), but also (1) any information copied or extracted from Protected Material; (2)

 all copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

 conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

 However, the protections conferred by this Stipulation and Order do not cover the following

 information: (a) any information that is in the public domain at the time of disclosure to a

 Receiving Party or becomes part of the public domain after its disclosure to a Receiving Party as

 a result of publication not involving a violation of this Order, including becoming part of the public

 record through trial or otherwise; and (b) any information known to the Receiving Party prior to

 the disclosure or obtained by the Receiving Party after the disclosure from a source who obtained

 the information lawfully and under no obligation of confidentiality to the Designating Party. Any

 use of Protected Material at trial shall be governed by a separate agreement or order.

        4.      DURATION




                                                   4
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page36 of 64




        Even after final disposition of this litigation, the confidentiality obligations imposed by this

 Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

 otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims

 and defenses in this action, with or without prejudice; and (2) final judgment herein after the

 completion and exhaustion of all appeals, rehearing, remands, trials, or reviews of this action,

 including the time limits for filing any motions or applications for extension of time pursuant to

 applicable law.

        5.      DESIGNATING PROTECTED MATERIAL

        5.1     Exercise of Restraint and Care in Designating Material for Protection. Each Party

 or Non-Party that designates information or items for protection under this Order must take care

 to limit any such designation to specific material that qualifies under the appropriate standards. To

 the extent it is practical to do so, the Designating Party must designate for protection only those

 parts of material, documents, items, or oral or written communications that qualify – so that other

 portions of the material, documents, items, or communications for which protection is not

 warranted are not swept unjustifiably within the ambit of this Order.



        5.2     Manner and Timing of Designations. Except as otherwise provided in this Order

 (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

 Disclosure or Discovery

        Material that qualifies for protection under this Order must be clearly so designated 1

 before the material is disclosed or produced.

        5.2 Designation in conformity with this Order requires:

        (a) for information in documentary form (e.g., paper or electronic documents, but




                                                   5
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page37 of 64




 excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

 affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

 ONLY “or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page that contains protected

 material. If only a portion or portions of the material on a page qualifies for protection, the

 Producing Party also must clearly identify the protected portion(s) (e.g., by making appropriate

 markings in the margins) and must specify, for each portion, the level of protection being asserted.

        A Party or Non-Party that makes original documents or materials available for inspection

 need not designate them for protection until after the inspecting Party has indicated which material

 it would like copied and produced. During the inspection and before the designation, all the

 material made available for inspection shall be deemed “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY.” After the inspecting Party has identified the documents, it wants

 copied and produced, the Producing Party must determine which documents, or portions thereof,

 qualify for protection under this Order. Then, before producing the specified documents, the

 Producing Party must affix the appropriate legend (“CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

 CODE to each page that contains Protected Material. If only a portion or portions of the material

 on a page qualifies for protection, the Producing Party also must clearly identify the protected

 portion(s) (e.g., by making appropriate markings in the margins) and must specify, for each

 portion, the level of protection being asserted.

        (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

 Designating Party identify on the record, before the close of the deposition, hearing, or other

 proceeding, all protected testimony and specify the level of protection being asserted. When it is

 impractical to identify separately each portion of testimony that is entitled to protection and it




                                                    6
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page38 of 64




 appears that substantial portions of the testimony may qualify for protection, the Designating Party

 may invoke on the record (before the deposition, hearing, or other proceeding is concluded) a right

 to have up to 21 days to identify the specific portions of the testimony as to which protection is

 sought and to specify the level of protection being asserted. Only those portions of the testimony

 that are appropriately designated for protection within the 21 days shall be covered by the

 provisions of this Stipulated Protective Order. Alternatively, a Designating Party may specify, at

 the deposition or up to 21 days afterwards if that period is properly invoked, that the entire

 transcript shall be treated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY.”

        Parties shall give the other parties notice if they reasonably expect a deposition, hearing or

 other proceeding to include Protected Material so that the other parties can ensure that only

 authorized individuals who have signed the “Acknowledgment and Agreement to Be Bound”

 (Exhibit A) are present at those proceedings. The use of a document as an exhibit at a deposition

 shall not in any way affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

 – ATTORNEYS’ EYES ONLY.”

        Transcripts containing Protected Material shall have an obvious legend on the title page

 that the transcript contains Protected Material, and the title page shall be followed by a list of all

 pages (including line numbers as appropriate) that have been designated as Protected Material and

 the level of protection being asserted by the Designating Party. The Designating Party shall inform

 the court reporter of these requirements. Any transcript that is prepared before the expiration of a

 21-day period for designation shall be treated during that period as if it had been designated

 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” in its entirety unless otherwise

 agreed. After the expiration of that period, the transcript shall be treated only as actually




                                                   7
Case:25-01124-KHT Doc#:14 Filed:05/05/25                   Entered:05/05/25 16:25:29 Page39 of 64




 designated.

         (c) for information produced in some form other than documentary and for any other

 tangible items, that the Producing Party affix in a prominent place on the exterior of the container

 or containers in which the information or item is stored the legend “CONFIDENTIAL” or

 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL

 – SOURCE CODE”. If only a portion or portions of the information or item warrant protection,

 the Producing Party, to the extent practicable, shall identify the protected portion(s) and specify

 the level of protection being asserted.

         (d)For purposes of information produced by a Party that is in non-tangible form, (i.e. electronic

 recordings, videos, etc), the Designating Party shall provide a Dropbox or other electronic storage link to

 the Receiving Party that shall contain the information in a folder marked “CONFIDENTIAL” or “HIGHLY

 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

 CODE”. The Designating Party shall simultaneously provide a log to the Receiving Party detailing, with

 as much specificity as possible, the electronic information contained in the marked folder. The Designating

 Party may restrict download capabilities as well as require access logs, if possible.     5.3 Inadvertent

 Failures to Designate. If timely corrected, an inadvertent failure to designate qualified information

 or items does not, standing alone, waive the Designating Party’s right to secure protection under

 this Order for such material. Upon timely correction of a designation, the Receiving Party must

 make reasonable efforts to assure that the material is treated in accordance with the provisions of

 this Order.

         6.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

         6.1     Timing of Challenges. Any Party or Non-Party may challenge a designation of

 confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

 designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic


                                                     8
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page40 of 64




 burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

 challenge a confidentiality designation by electing not to mount a challenge promptly after the

 original designation is disclosed.

        6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

 by providing written notice of each designation it is challenging and describing the basis for each

 challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

 recite that the challenge to confidentiality is being made in accordance with this specific paragraph

 of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

 begin the process by conferring directly (in voice-to-voice dialogue; other forms of communication

 are not sufficient) within 14 days of the date of service of notice. In conferring, the Challenging

 Party must explain the basis for its belief that the confidentiality designation was not proper and

 must give the Designating Party an opportunity to review the designated material, to reconsider

 the circumstances, and, if no change in designation is offered, to explain the basis for the chosen

 designation. A Challenging Party may proceed to the next stage of the challenge process only if it

 has engaged in this meet and confer process first or establishes that the Designating Party is

 unwilling to participate in the meet and confer process in a timely manner.

        6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

 intervention, the Challenging Party shall file and serve a motion to remove the confidential

 designation under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable)

 within 21 days of the initial notice of challenge or within 14 days of the parties agreeing that the

 meet and confer process will not resolve their dispute, whichever is earlier. Each such motion must

 be accompanied by a competent declaration affirming that the movant has complied with the meet

 and confer requirements imposed in the preceding paragraph. Failure by the Challenging Party to




                                                  9
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page41 of 64




 make such a motion including the required declaration within 21 days (or 14 days, if applicable)

 shall automatically waive the challenge to confidential designation for each challenged

 designation.

        The burden of persuasion in any such challenge proceeding shall be on the Challenging

 Party. Frivolous challenges and those made for an improper purpose (e.g., to harass or impose

 unnecessary expenses and burdens on other parties) may expose the Challenging Party to

 sanctions. All parties shall continue to afford the material in question the level of protection to

 which it is entitled under the Producing Party’s designation until the court rules on the challenge.

        7.      ACCESS TO AND USE OF PROTECTED MATERIAL

        7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

 produced by another Party or by a Non-Party in connection with this case only for prosecuting,

 defending, or attempting to settle this litigation. Such Protected Material may be disclosed only to

 the categories of persons and under the conditions described in this Order. When the litigation has

 been terminated, a Receiving Party must comply with the provisions of section 15 below (FINAL

 DISPOSITION).

        Protected Material must be stored and maintained by a Receiving Party at a location and in

 a secure manner that ensures that access is limited to the persons authorized under this Order.

        7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered

 by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 information or item designated “CONFIDENTIAL” only to:

        (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

 of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

 for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that




                                                 10
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page42 of 64




 is attached hereto as Exhibit A;

        (b) the officers, directors, and employees (including House Counsel) of the Receiving Party

 to whom disclosure is reasonably necessary for this litigation and who have signed the

 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

        (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

 reasonably necessary for this litigation and who have signed the “Acknowledgment and

 Agreement to Be Bound” (Exhibit A);

        (d) the court and its personnel.

        (e) court reporters and their staff, professional jury or trial consultants, and Professional

 Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

        (f) during their depositions, witnesses in the action to whom disclosure is reasonably

 necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

 unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

 deposition testimony or exhibits to depositions that reveal Protected Material must be separately

 bound by the court reporter and may not be disclosed to anyone except as permitted under this

 Stipulated Protective Order.

        (g) the author or recipient of a document containing the information or a custodian or other

 person who otherwise possessed or knew the information.

        7.3     Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” and

 “HIGHLY CONFIDENTIAL – SOURCE CODE” Information or Items. Unless otherwise ordered

 by the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 information or item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or




                                                 11
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page43 of 64




 “HIGHLY CONFIDENTIAL – SOURCE CODE” only to:

        (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

 of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

 for this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that

 is attached hereto as Exhibit A;

        [Subsection (b) intentionally deleted by the Parties]

        (c) Experts of the Receiving Party (1) to whom disclosure is reasonably necessary for this

 litigation, (2) who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

 and (3) as to whom the procedures set forth in paragraph 7.4(a)(2), below, have been followed.

        (d) the court and its personnel.

        (e) court reporters and their staff, professional jury or trial consultants, and Professional

 Vendors to whom disclosure is reasonably necessary for this litigation and who have signed the

 “Acknowledgment and Agreement to Be Bound” (Exhibit A); and

        (f) the author or recipient of a document containing the information or a custodian or other

 person who otherwise possessed or knew the information.

        7.4 Procedures for Approving or Objecting to Disclosure of “HIGHLY CONFIDENTIAL

 – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE”

 Information or Items to Experts.

        [Subsection(a)(1) intentionally deleted by the Parties]

        (a)(2) Unless otherwise ordered by the court or agreed to in writing by the Designating

 Party, a Party that seeks to disclose to an Expert (as defined in this Order) any information or item

 that has been designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or

 “HIGHLY CONFIDENTIAL – SOURCE CODE” pursuant to paragraph 7.3(c) first must make a




                                                  12
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page44 of 64




 written request to the Designating Party that (1) identifies the general categories of “HIGHLY

 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE

 CODE” information that the Receiving Party seeks permission to disclose to the Expert, (2) sets

 forth the full name of the Expert and the city and state of his or her primary residence, (3) attaches

 a copy of the Expert’s current resume, (4) identifies the Expert’s current employer(s), (5) identifies

 each person or entity from whom the Expert has received compensation or funding for work in his

 or her areas of expertise or to whom the expert has provided professional services, including in

 connection with a litigation, at any time during the preceding five years, and (6) identifies (by

 name and number of the case, filing date, and location of court) any litigation in connection with

 which the Expert has offered expert testimony, including through a declaration, report, or

 testimony at a deposition or trial, during the preceding five years.

        (b) A Party that makes a request and provides the information specified in the preceding

 respective paragraphs may disclose the subject Protected Material to the identified Designated

 House Counsel or Expert unless, within 14 days of delivering the request, the Party receives a

 written objection from the Designating Party. Any such objection must set forth in detail the

 grounds on which it is based.

        (c) A Party that receives a timely written objection must meet and confer with the

 Designating Party (through direct voice to voice dialogue) to try to resolve the matter by agreement

 within seven days of the written objection. If no agreement is reached, the Party seeking to make

 the disclosure to the Expert may file a motion seeking permission from the court to do so. Any

 such motion must describe the circumstances with specificity, set forth in detail the reasons why

 the disclosure to the Expert is reasonably necessary, assess the risk of harm that the disclosure

 would entail, and suggest any additional means that could be used to reduce that risk. In addition,




                                                  13
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page45 of 64




 any such motion must be accompanied by a competent declaration describing the parties’ efforts

 to resolve the matter by agreement (i.e., the extent and the content of the meet and confer

 discussions) and setting forth the reasons advanced by the Designating Party for its refusal to

 approve the disclosure.

        In any such proceeding, the Party opposing disclosure to the Expert shall bear the burden

 of proving that the risk of harm that the disclosure would entail (under the safeguards proposed)

 outweighs the Receiving Party’s need to disclose the Protected Material to its Designated House

 Counsel or Expert.

        8.      SOURCE CODE

        (a)     To the extent production of source code becomes necessary in this case, a

 Producing Party may designate source code as “HIGHLY CONFIDENTIAL - SOURCE CODE”

 if it comprises or includes confidential, proprietary or trade secret source code.

        (b)     Protected Material designated as “HIGHLY CONFIDENTIAL – SOURCE CODE”

 shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL – SOURCE

 CODE” shall be subject to all of the protections afforded to “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY” information [Optional: including the Prosecution Bar set forth in

 Paragraph 8], and may be disclosed only to the individuals to whom “HIGHLY CONFIDENTIAL

 – ATTORNEYS’ EYES ONLY” information may be disclosed, as set forth in Paragraphs 7.3 and

 7.4, with the exception of Designated House Counsel.

        (c)     Any source code produced in discovery shall be made available for inspection, in a

 format allowing it to be reasonably reviewed and searched, during normal business hours or at

 other mutually agreeable times, at an office of the Producing Party’s counsel or another mutually

 agreed upon location. The source code shall be made available for inspection on a secured




                                                  14
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page46 of 64




 computer in a secured room without Internet access or network access to other computers, and the

 Receiving Party shall not copy, remove, or otherwise transfer any portion of the source code onto

 any recordable media or recordable device. The Producing Party may visually monitor the

 activities of the Receiving Party’s representatives during any source code review, but only to

 ensure that there is no unauthorized recording, copying, or transmission of the source code.

        (d)     The Receiving Party may request paper copies of limited portions of source code

 that are reasonably necessary for the preparation of court filings, pleadings, expert reports, or other

 papers, or for deposition or trial, but shall not request paper copies for the purposes of reviewing

 the source code other than electronically as set forth in paragraph (c) in the first instance. The

 Producing Party shall provide all such source code in paper form including bates numbers and the

 label “HIGHLY CONFIDENTIAL - SOURCE CODE.” The Producing Party may challenge the

 amount of source code requested in hard copy form pursuant to the dispute resolution procedure

 and timeframes set forth in Paragraph 6 whereby the Producing Party is the “Challenging Party”

 and the Receiving Party is the “Designating Party” for purposes of dispute resolution.

        (e)     The Receiving Party shall maintain a record of any individual who has inspected

 any portion of the source code in electronic or paper form. The Receiving Party shall maintain all

 paper copies of any printed portions of the source code in a secured, locked area. The Receiving

 Party shall not create any electronic or other images of the paper copies and shall not convert any

 of the information contained in the paper copies into any electronic format. The Receiving Party

 shall only make additional paper copies if such additional copies are (1) necessary to prepare court

 filings, pleadings, or other papers (including a testifying expert’s expert report), (2) necessary for

 deposition, or (3) otherwise necessary for the preparation of its case. Any paper copies used during

 a deposition shall be retrieved by the Producing Party at the end of each day and must not be given




                                                   15
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page47 of 64




 to or left with a court reporter or any other unauthorized individual.

        9. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

 OTHER LITIGATION

        If a Party is served with a subpoena or a court order issued in other litigation that compels

 disclosure of any information or items designated in this action as “CONFIDENTIAL” or

 “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”or “HIGHLY CONFIDENTIAL –

 SOURCE CODE” that Party must:

        (a) promptly notify in writing the Designating Party. Such notification shall include a copy

 of the subpoena or court order;

        (b) promptly notify in writing the party who caused the subpoena or order to issue in the

 other litigation that some or all the material covered by the subpoena or order is subject to this

 Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

        (c) cooperate with respect to all reasonable procedures sought to be pursued by the

 Designating Party whose Protected Material may be affected.

        If the Designating Party timely seeks a protective order, the Party served with the subpoena

 or court order shall not produce any information designated in this action as “CONFIDENTIAL”

 or   “HIGHLY       CONFIDENTIAL         –    ATTORNEYS’         EYES     ONLY”     or   “HIGHLY

 CONFIDENTIAL – SOURCE CODE” before a determination by the court from which the

 subpoena or order issued, unless the Party has obtained the Designating Party’s permission. The

 Designating Party shall bear the burden and expense of seeking protection in that court of its

 confidential material – and nothing in these provisions should be construed as authorizing or

 encouraging a Receiving Party in this action to disobey a lawful directive from another court.




                                                  16
Case:25-01124-KHT Doc#:14 Filed:05/05/25               Entered:05/05/25 16:25:29 Page48 of 64




        10.     A    NON-PARTY’S         PROTECTED          MATERIAL          SOUGHT        TO    BE

 PRODUCED IN THIS LITIGATION

        (a)     The terms of this Order are applicable to information produced by a Non-Party in

 this action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –

 ATTORNEYS’ EYES ONLY “or “HIGHLY CONFIDENTIAL – SOURCE CODE”. Such

 information produced by Non-Parties in connection with this litigation is protected by the remedies

 and relief provided by this Order. Nothing in these provisions should be construed as prohibiting

 a Non-Party from seeking additional protections.

        (b)     In the event that a Party is required, by a valid discovery request, to produce a Non-

 Party’s confidential information in its possession, and the Party is subject to an agreement with the

 Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

        1.      promptly notify in writing the Requesting Party and the Non-Party that some or all

 of the information requested is subject to a confidentiality agreement with a Non-Party;

        2.      promptly provide the Non-Party with a copy of the Stipulated Protective Order in

 this litigation, the relevant discovery request(s), and a reasonably specific description of the

 information requested; and

        3.      make the information requested available for inspection by the Non-Party.

        (c)     If the Non-Party fails to object or seek a protective order from this court within 14

 days of receiving the notice and accompanying information, the Receiving Party may produce the

 Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

 seeks a protective order, the Receiving Party shall not produce any information in its possession

 or control that is subject to the confidentiality agreement with the Non-Party before a

 determination by the court. Absent a court order to the contrary, the Non-Party shall bear the




                                                  17
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page49 of 64




 burden and expense of seeking protection in this court of its Protected Material.


        11.     UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

        If a Receiving Party learns that, by inadvertence, it has disclosed Protected Material to any

 person or in any circumstance not authorized under this Stipulated Protective Order, the Receiving

 Party must immediately (a) notify in writing the Designating Party of the unauthorized disclosures,

 (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the

 person or persons to whom unauthorized disclosures were made of all the terms of this Order, and

 (d) request such person or persons to execute the “Acknowledgment and Agreement to Be Bound”

 that is attached hereto as Exhibit A. If an unauthorized disclosure occurs by reason of the

 Receiving Party's willful misconduct, the Receiving Party may be subject to sanctions.


        12.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE

 PROTECTED MATERIAL

        When a Producing Party gives notice to Receiving Parties that certain inadvertently

 produced material is subject to a claim of privilege or other protection, the obligations of the

 Receiving Parties are those set forth in C.R.C.P. 26(b)(5)(B). This provision is not intended to

 modify whatever procedure may be established in an e-discovery order that provides for

 production without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e),

 insofar as the parties reach an agreement on the effect of disclosure of a communication or

 information covered by the attorney-client privilege or work product protection, the parties may

 incorporate their agreement in the stipulated protective order submitted to the court.


        13.     MISCELLANEOUS

        13.1    Right to Further Relief. Nothing in this Order abridges the right of any person to



                                                  18
Case:25-01124-KHT Doc#:14 Filed:05/05/25                  Entered:05/05/25 16:25:29 Page50 of 64




 seek its modification by the court in the future.

         13.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

 no Party waives any right it otherwise would have to object to disclosing or producing any

 information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

 Party waives any right to object on any ground to use in evidence of any of the material covered

 by this Protective Order.

         13.3    Export Control. Disclosure of Protected Material shall be subject to all applicable

 laws and regulations relating to the export of technical data contained in such Protected Material,

 including the release of such technical data to foreign persons or nationals in the United States or

 elsewhere. The Producing Party shall be responsible for identifying any such controlled technical

 data, and the Receiving Party shall take measures necessary to ensure compliance.

         13.4    Filing Protected Material. Without written permission from the Designating Party

 or a court order secured after appropriate notice to all interested persons, a Party may not file in

 the public record in this action any Protected Material. A Party that seeks to file under seal any

 Protected Material must comply with C.R.C.P. 121, ¶ 1- 5. Protected Material may only be filed

 under seal pursuant to a court order authorizing the sealing of the specific Protected Material at

 issue. Pursuant to C.R.C.P. 121, ¶ 1- 5 a sealing order will issue only upon a request establishing

 that the Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled

 to protection under the law. If a Receiving Party's request to file Protected Material under seal

 pursuant to; C.R.C.P. 121, ¶ 1- 5 is denied by the court, then the Receiving Party may file the

 Protected Material in the public record pursuant to C.R.C.P. 121, ¶ 1- 5 unless otherwise instructed

 by the court.




                                                     19
Case:25-01124-KHT Doc#:14 Filed:05/05/25                Entered:05/05/25 16:25:29 Page51 of 64




        14.     FINAL DISPOSITION

        Within 60 days after the final disposition of this action, as defined in paragraph 4, each

 Receiving Party must return all Protected Material to the Producing Party or destroy such material.

 As used in this subdivision, “all Protected Material” includes all copies, abstracts, compilations,

 summaries, and any other format reproducing or capturing any of the Protected Material. Whether

 the Protected Material is returned or destroyed, the Receiving Party must submit a written

 certification to the Producing Party (and, if not the same person or entity, to the Designating Party)

 by the 60-day deadline that (1) identifies (by category, where appropriate) all the Protected

 Material that was returned or destroyed and (2) affirms that the Receiving Party has not retained

 any copies, abstracts, compilations, summaries or any other format reproducing or capturing any

 of the Protected Material. Notwithstanding this provision, Counsel is entitled to retain an archival

 copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal memoranda,

 correspondence, deposition and trial exhibits, expert reports, attorney work product, and consultant

 and expert work product, even if such materials contain Protected Material. Any such archival

 copies that contain or constitute Protected Material remain subject to this Protective Order as set

 forth in Section 4 (DURATION).




        IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.




 DATED: ___May 15, 2022__
                                                /s/ Gary Tucker
                                                Attorneys for Plaintiff
                                                Gary Tucker, Esq.
                                                Glegal, LLC
                                                501 S. Cherry Creek Street
                                                Eleventh Floor, 224


                                                  20
Case:25-01124-KHT Doc#:14 Filed:05/05/25   Entered:05/05/25 16:25:29 Page52 of 64




                                    Denver, Colorado 80246


 DATED: May 17, 2022                /s/ Stacy D. Stein
                                    Attorneys for Defendant
                                    Stacy D. Stein, #41338
                                    W. Clayton Galloway, #54938
                                    Mountain Peak Law Group, PC
                                    P.O. Box 441365
                                    Aurora, CO 80044-1365



 PURSUANT TO STIPULATION, IT IS SO ORDERED.


 DATED: ________________________
            May 18, 2022         _____________________________________

                                    District Court Judge




                                      21
Case:25-01124-KHT Doc#:14 Filed:05/05/25                     Entered:05/05/25 16:25:29 Page53 of 64




                                                  EXHIBIT A

                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

                   I, _____________________________ [print or type full name], of _________________

 [print or type full address], declare under penalty of perjury that I have read in its entirety and understand

 the Stipulated Protective Order that was issued by the United States District Court for the Northern

 District of California on [date] in the case of ___________ [insert formal name of the case and the

 number and initials assigned to it by the court]. I agree to comply with and to be bound by all the

 terms of this Stipulated Protective Order and I understand and acknowledge that failure to so comply

 could expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will not

 disclose in any manner any information or item that is subject to this Stipulated Protective Order to any

 person or entity except in strict compliance with the provisions of this Order.

                   I further agree to submit to the jurisdiction of the District Court El Paso County,

 Colorado for the purpose of enforcing the terms of this Stipulated Protective Order, even if such

 enforcement proceedings occur after termination of this action.

                   I hereby appoint __________________________ [print or type full name] of

 _______________________________________ [print or type full address and telephone number] as my

 Colorado agent for service of process in connection with this action or any proceedings related to

 enforcement of this Stipulated Protective Order.



 Date: _________________________________

 City and State where sworn and signed: _________________________________

 Printed name: ______________________________
                [printed name]

 Signature: __________________________________
                [signature]



 W:\Working\07212\01\W0470957.DOCX




                                                       22
Case:25-01124-KHT Doc#:14 Filed:05/05/25   Entered:05/05/25 16:25:29 Page54 of 64




         EXHIBIT B
Case:25-01124-KHT Doc#:14 Filed:05/05/25                            Entered:05/05/25 16:25:29 Page55 of 64



 DISTRICT COURT, EL PASO COUNTY, COLORADO
 Court Address:
 270 S. TEJON, COLORADO SPRINGS, CO, 80903
                                                                              DATE
                                                                               DATEFILED:
                                                                                     FILED:May
                                                                                            May25,
                                                                                                 12,2023
                                                                                                     202311:31
                                                                                                          6:54 AM
                                                                                                               AM
 Plaintiff(s) TCPA LITIGATOR LIST                                             FILING
                                                                               CASE NUMBER:
                                                                                     ID: FCC4246D8750B
                                                                                               2021CV31668
 v.                                                                           CASE NUMBER: 2023CA891
 Defendant(s) RINGBA LLC et al.



                                                                                                   COURT USE ONLY
                                                                                       Case Number: 2021CV31668
                                                                                       Division: 22      Courtroom:

                        Order:Proposed Order re Forthwith Request for Emergency Hearing

  The motion/proposed order attached hereto: ACTION TAKEN.

  I have reviewed all pleadings and exhibits filed as of the time of this order, and I have considered the testimony presented at
  the hearing yesterday.

  Defendants renew their motion to terminate the case based on yet more new disclosures, including a screenshot of data in
  plaintiff's possession plainly showing that Mr. Young had permission to download the list of phone numbers that he
  downloaded on April 5, 2023. Exhibit 2 to Defendants' reply brief.

  I find by a preponderance of the evidence that this data compilation was generated on April 5, 2020 and has been easily
  accessible by plaintiff since that time. Until after my April 25th, 2023 order imposing sanctions, plaintiff had insisted that there
  was no such data compilation to show that Mr. Young actually had permission to download the list.

  Yesterday, Mr. O'Hare acknowledged that all along (i.e. since April 5, 2020), he and his programmer, Mr. Malosev, have
  indeed had access to the "back end" of the original website. The court finds that since the end of 2022 defendants have
  requested access to the back end. The court finds that when plaintiff responded to the requests that it had no such
  information, its principal, Mr. O'Hare, knew that that was not true.

  Plaintiff insists that all defendants had to do was ask for access to the back-end of the website using the right language and
  they would have had access to all of this information. As part of this argument, plaintiff asserts that defendants may have
  requested things similar to this information but didn't quite use the right words to make clear to plaintiff that that access to the
  back end is what defendants wanted.

  The court finds that from the beginning of discovery requests, defendants have used broad and all-inclusive terminology to
  make clear to plaintiff what they were seeking. The court finds that all of the disclosures by plaintiff in the last three weeks
  should have been turned over in response to the initial requests for production based on those broad requests. More
  important and much more broadly, plaintiff should have disclosed all of the database that was accessible through the back
  end of the original website and not just taken a handful of screenshots of that database on the eve of trial.

  The court found everything Dr. Gianturco testified to yesterday credible. The court finds based on his testimony that the
  Exhibit 2 screenshot was indeed a "smoking gun" and that had that exhibit been produced when first requested by
  defendants, the parties would immediately have turned their attention to plaintiff's backup theory that Mr. Young, in allegedly
  checking the Terms and Conditions box, explicitly agreed that he would not share the list with anyone else.

  It was during Mr. Malosev's testimony at the April 2023 hearing that it became clear to the court that there was a good
  chance that there was far more evidence in this case than plaintiff had disclosed. Confronted by the fact that Dr. Gianturco
  was able to download the full list from the website recreation without agreeing to any terms and conditions, Mr. Malosev,
  while testifying, accessed data that had existed since April 5, 2020 in an attempt to show Mr. Young had not done what Dr.
  Gianturco had done. The court finds that this live display by Mr. Malosev showed everyone in the courtroom, including
  plaintiff's counsel, that there was likely far more such data in the case that plaintiff had not disclosed.

  The court finds that after the April 2023 hearing, plaintiff's counsel followed up with Mr. Malosev to see what other
  undisclosed evidence there was at Mr. Malosev's fingertips. The result, in part, was Exhibit B. The court finds that had Mr.
  Malosev not shown in open court his access to this information, the new disclosures would never have been produced. After

                                                                                                                             Page1 of2
Case:25-01124-KHT Doc#:14 Filed:05/05/25                            Entered:05/05/25 16:25:29 Page56 of 64



  Mr. Malosev's display, the court finds, plaintiff could no longer credibly claim that it had disclosed all relevant evidence in
  their possession.

  Ultimately, the court concludes that from the beginning of this litigation, plaintiff has had ready access to all sorts of data
  directly relevant to this case that only recently they have begun to release in dribs and drabs. The court finds that Mr. O'Hare
  and Mr. Malosev completely disregarded their legally required discovery obligations until just recently in an attempt to
  increase their chances of prevailing at trial.

  Faced again with yet more late disclosures, plaintiff asks this court now to focus on just how many times Mr. Young admitted
  in his interrogatories that he followed the terms and conditions that he had allegedly agreed to.

  First, the court finds that Mr. Young used this language in his responses not to admit that he had checked the box indicating
  that he agreed to be bound by the terms and conditions on the website but to articulate that his downloading of the list on
  April 5, 2020 was not the result of his "manipulating" the website as alleged by plaintiff.

  More significant, the court has zero confidence that plaintiff has disclosed the information in its possession regarding the
  Terms and Conditions box and whether Mr. Young actually checked that box. Again, had all of the recent disclosures been
  made when they should have and had Mr. O'Hare acknowledged early on that he and Mr. Malosev had ready access to the
  back end of the original website six months ago, defendants would have had a much fuller basis from which to probe for
  evidence directly connected to the Terms and Conditions box that plaintiff now insists is at the heart of this case.

  I find that because they did not want to disclose evidence that might have helped defendants, they insisted until only recently
  that there was no computer evidence in their possession other than the fragments of proprietary code information shared
  with Dr. Gianturco during his February visit and the generic publicly available source code that plaintiff had used but without
  any of the uniquely specified configurations of that source code for the website.

  Based on the foregoing, the court hereby terminates this case, applying the same standard set forth in its April 25, 2023
  sanctions order. The trial set for May 15, 2023 is vacated.

  The court fully understands Mr. O'Hare's grievance with Mr. Young's downloading Mr. O'Hare's significant collection of phone
  numbers and then using that list as part of a brand new, competing business. Nevertheless, in bringing suit, plaintiff was
  required by law to timely disclose any relevant evidence in its possession, even if that evidence would help the other side.
  Here, plaintiff and its representatives have, until too late, disregarded that law completely.


  The court will entertain a motion for the recovery of fees and costs.


  Issue Date: 5/12/2023




  WILLIAM B BAIN
  District Court Judge




                                                                                                                             Page2 of2
Case:25-01124-KHT Doc#:14 Filed:05/05/25             Entered:05/05/25 16:25:29 Page57 of 64




  DISTRICT COURT, EL PASO COUNTY, COLORADO
  270 South Tejon Street
  Colorado Springs, CO 80903




                                                                                          8
                                                                                    66
  Plaintiff:




                                                                              31
                                                                  COURT USE ONLY
  TCPA LITIGATOR LIST,




                                                                            V
  v.                                                          Case No. 2021CV031668




                                                                   1C
  Defendants:
                                                              Division: 9




                                                             02
  ADAM YOUNG, an individual, TUBMANBURG
  LIMITED, a Bahamas corporation a/k/a Ringba,



                                                      -2
  RINGBA, LLC, a Delaware limited liability company.
                                                er
  [PROPOSED] ORDER RE DEFENDANTS’ FORTHWITH REQUEST FOR HEARING
                                           rd
   REGARDING PLAINTIFF’S CONTINUED VIOLATION OF COURT ORDERS AND
                       DISCOVERY OBLIGATIONS
                                       O
                                  o
                             tt




        Defendants’ Forthwith Request for Hearing Regarding Plaintiff’s Continued Violation of
                        en




 Court Orders and Discovery Obligations is hereby GRANTED.
                   m




        Upon entry of this Order, Counsel for Defendants shall call the Clerk of the Court for the
               ch




 Court’s availability on Wednesday, May 10, 2023 or Thursday, May 11, 2023 to hear argument
        tta




 on this matter via Webex.
       A




  SO ORDERED.



                                                     District Court Judge
Case:25-01124-KHT Doc#:14 Filed:05/05/25   Entered:05/05/25 16:25:29 Page58 of 64




        EXHIBIT C
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                  Entered:05/05/25 16:25:29 Page59 of 64




              DISTRICT COURT, EL PASO COUNTY,
              COLORADO
              270 South Tejon Street                                         DATE FILED
              Colorado Springs, CO 80903                                     September 4, 2024 2:45 PM
                                                                             FILING ID: D5873C7337F64
                                                                             CASE NUMBER: 2021CV31668
              TCPA LITIGATOR LIST,
              Plaintiff,
                                                                                  ▲ COURT USE ONLY ▲
              v.
              ADAM YOUNG, an individual; TUBMANBURG                           Case No.: 2021CV031668
              LIMITED, a Bahamas corporation a/k/a Ringba,
              RINGBA, LLC, a Delaware limited liability company,              Div.: 22

              Defendants.

              Attorneys for Defendants Adam Young,
              Tubmanburg Limited and Ringba, LLC:
              Kendra N. Beckwith, #40154
              Caitlin C. McHugh, #45097
              LEWIS ROCA ROTHGERBER CHRISTIE LLP
              1601 19th Street, Suite 1000
              Denver, CO 80202
              Tel.:     303.623.9000
              Email: kbeckwith@lewisroca.com
                        cmchugh@lewisroca.com

                       MOTION AND AFFIDAVIT FOR CITATION FOR CONTEMPT OF COURT



                      Defendants Adam Young and Ringba LLC, hereby request the Court ordering the Clerk to

             enter a citation for contempt of court and in support thereof, state as follows:

                   1. On May 18, 2022, the Court entered a Stipulated Protective Order for Litigation

                      Involving Patents, Highly Sensitive Confidential Information and/ or Trade Secrets (the

                      “Protective Order”) to allow the parties to exchange sensitive information in the case.

                   2. The Protective Order allowed the parties to designate documents and deposition

                      testimony as Highly Confidential – Attorneys’ Eyes Only.
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                   Entered:05/05/25 16:25:29 Page60 of 64




                 3. Pursuant to the Protective Order, information designated as Highly Confidential –

                     Attorneys’ Eyes Only could only be shared with: (a) outside counsel and their staff; (b)

                     experts (so long as a specific process was followed); (c) the Court and its personnel; (d)

                     court reporters and their staff, professional jury or trial consultants, and professional

                     vendors; and the author or recipient of a document containing the information or a

                     custodian or other person who otherwise knew the information.

                 4. During the C.R.C.P. 30(b)(6) deposition of Ringba, LLC (“Ringba”), counsel for Ringba,

                     Cici Cheng, contemporaneously designated certain sections of the record as Highly

                     Confidential – Attorneys’ Eyes Only.

                 5. Part way into the deposition, counsel for TCPA Litigator List (“TCPA Litigator”)

                     requested that Ms. Cheng designate the entire transcript Highly Confidential – Attorneys’

                     Eyes Only to minimize the disruption of switching in and out of Attorneys’ Eyes Only.

                     Ms. Cheng agreed, stated the whole transcript would be Highly Confidential – Attorneys’

                     Eyes Only and ensured that TCPA’s principal, Michael O’Hare was no longer present.

                     Deposition Transcript 32:23-33:23, attached as Exhibit 1.

                 6. Adam Young continued testifying relying on the Highly Confidential – Attorneys’ Eyes

                     Only designation.

                 7. At the conclusion of the deposition, the transcript was marked with a watermark on every

                     page that stated “Attorneys’ Eyes Only.”

                 8. Ultimately the case was dismissed as a sanction for repeated discovery violations.

                 9. The Court entered judgment in favor of Ringba for attorneys’ fees and costs totaling

                     $641,415.
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                 Entered:05/05/25 16:25:29 Page61 of 64




                 10. TCPA Litigator appealed both the dismissal order and the award of attorneys’ fees and

                     costs.

                 11. TCPA Litigator did not post a supersedeas bond to stay collection efforts. Instead, when

                     Ringba began working to collect the judgment, TCPA Litigator filed a Petition for

                     Bankruptcy in United States Bankruptcy Court, Case No. 24-12624-KHT (“Bankruptcy

                     Proceeding”).

                 12. On August 28, 2024, TCPA Litigator, at the direction of Michael O’Hare, filed an Ex

                     Parte Motion for Order Authorizing Rule 2004 Examination of Creditor Ringba, LLC’s

                     Agents Adam Young and Harrison Gurvitz [sic].” He included as an attachment a List of

                     Interrogatories that disclosed information that was disclosed in this case pursuant to

                     Highly Confidential –Attorneys’ Eyes Only and could only be known to Mr. O’Hare if

                     this Attorneys’ Eyes Only information was disclosed to Mr. O’Hare by his attorney

                     Michael Cohen. Compare Ex. 1, Highly Confidential Attorneys' Eyes Only Ringba, LLC

                     C.R.C.P. 30(b)(6) Deposition 97:18-24 and Ex. 2, List of Interrogatories at Interrogatory

                     No. 11.

                 13. In filing the List of Interrogatories which included the Highly Confidential – Attorneys’

                     Eyes Only information, Mr. O’Hare ignored the Protective Order and made public

                     sensitive information he never should have been told in the first instance.

                 14. The List of Interrogatories shows that it was not related to the Bankruptcy Proceeding,

                     but rather a brazen attempt to embarrass Ringba while disregarding the Protective Order.

                 15. The Bankruptcy Court has now sealed the pleading. However, in subsequent

                     conversations, Mr. O’Hare has stated his intention to continue sharing the Highly

                     Confidential Information.
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                   Entered:05/05/25 16:25:29 Page62 of 64




                 16. Ringba requests this Court issue an Order to Issue Citation to Michael O’Hare to appear

                     before the Court at a specified date and time for a hearing to show cause why he failed to

                     comply with the Protective Order when he caused Attorneys’ Eyes Only information to be

                     publicly filed in the Bankruptcy Court.

                 17. Ringba is seeking remedial contempt. Specifically, Ringba requests the following from

                     Mr. O’Hare:

                          a. Payments of reasonable costs and attorneys’ fees Ringba incurred related to this

                              proceeding;

                          b. Payment of reasonable costs and attorneys’ fees Ringba incurred related to sealing

                              the Interrogatory List in the Bankruptcy Court;

                          c. Mr. O’Hare must meet with his prior attorneys and develop an affidavit of all

                              information designated as Attorneys’ Eyes Only that was shared with him. This

                              affidavit must be provided to Ringba and filed with the Court under seal;

                          d. An affidavit from Mr. O’Hare listing every document, written communication, or

                              recorded communication in his possession that includes reference to the Highly

                              Confidential—Attorneys’ Eyes Only information. This affidavit must be provided

                              to Ringba and filed with the Court under seal;

                          e. An order requiring Mr. O’Hare to either destroy or provide to the Court all copies

                              of documents, communications, and recording identified in 18(d);

                          f. An order requiring Mr. O’Hare and his prior attorney Jeffrey Cohen to sit for a

                              deposition where Ringba will inquire into the sharing of Highly Confidential

                              Attorneys’ Eyes Only information with Mr. O’Hare. Mr. O’Hare will be

                              responsible for the fees and costs incurred in those depositions;
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                    Entered:05/05/25 16:25:29 Page63 of 64




                          g. An order permanently enjoining Mr. O’Hare from using or sharing the Highly

                              Confidential – Attorneys’ Eyes Only information identified by Mr. Cohen in 18(b)

                              without prior authorization from this Court (and any such request be submitted to

                              the Court in a filing that is filed as Suppressed or Sealed).

                          h. Any additional relief the Court determines is reasonable, just, or necessary to

                              ensure future compliance with the Court’s Orders.

                     Dated: September 4, 2024

                     Respectfully submitted this 4th day of September, 2024.


                                                             LEWIS ROCA ROTHGERBER CHRISTIE LLP

                                                             s/ Caitlin C. McHugh
                                                             Kendra N. Beckwith, #40154
                                                             Caitlin C. McHugh, #45097

                                                             Attorneys for Defendants Adam Young,
                                                             Tubmanburg Limited and Ringba, LLC




             VERIFICATION
             I declare under penalty of perjury under the law of Colorado that the foregoing is true and correct.


             Executed on the 4th day of September, 2024.
                                                                             Adam Young
             ____________________________________________                    _______________________________
             Signature                                                       Printed Name


             ____________________________________________                   Caitlin McHugh
                                                                            _______________________________
             Signature of Attorney                                           Printed Name
Docusign Envelope ID: 70686B45-15E4-419F-B8A9-760E84536C98
          Case:25-01124-KHT Doc#:14 Filed:05/05/25                       Entered:05/05/25 16:25:29 Page64 of 64




              It is important that the party accused of contempt read the following information.
             A party accused of remedial contempt has the following rights:

                 1. The right to be represented by a lawyer.
                 2. The right to a hearing before a judicial officer where the court must find that you were subject to a
                    court order, that you had knowledge of that Order, that you did not comply with the Order, that you
                    had the ability to comply with that Order, that your refusal to comply with the Order was willful, and
                    that you have the present ability to comply with that Order.

             If you are found to be in remedial contempt of court, the court may require you to pay the other party's court
             costs and attorney's fees connected with the contempt hearing, to pay a fine, and/or to serve an indefinite
             jail sentence until you comply with the original order.

             A party accused of punitive contempt has the following rights:
                  1. The right to be represented by a lawyer. If you cannot afford a lawyer and if a jail sentence is
                      contemplated, you may apply for a court-appointed lawyer.
                  2. The right to a jury if a jail sentence in excess of 180 days is contemplated.
                  3. If the judge initiated the proceedings, the right to have the contempt matter heard by a different
                      judge.
                  4. The right to plead guilty or not guilty to the charge of contempt.
                  5. The right to be presumed innocent unless and until the allegation(s) in the motion for contempt
                      is/are proven beyond a reasonable doubt.
                  6. The right to confront and cross-examine all witnesses against you.
                  7. The right to present relevant witnesses and evidence at the hearing.
                  8. The right to request the court to issue subpoenas to compel witnesses to appear and give
                      testimony.
                  9. The right to remain silent.
                  10. The right to testify on your own behalf. If you testify, you waive your right to remain silent and the
                      other party may cross-examine you.
                  11. The right to make a statement on your own behalf prior to the imposition of sanctions, if you are
                      found in contempt of court.
             If the court finds that you were subject to a court order, that you had knowledge of that Order, that you had
             the ability to obey that Order, that you willfully failed or refused to obey that Order, and that such conduct
             was offensive to the authority and dignity of the court, you may be sentenced to pay a fine or serve a jail
             sentence.
